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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


    In re:                                                      Chapter 11

    MATTRESS FIRM, INC., et al.,1                               Case No. 18-12241 (BLS)

                             Debtors.                           (Joint Administration Requested)


             JOINT PREPACKAGED CHAPTER 11 PLAN OF REORGANIZATION
                FOR MATTRESS FIRM, INC. AND ITS DEBTOR AFFILIATES

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                     Proposed Attorneys for the Debtors and Debtors in Possession

                                            Dated: October 4, 2018




1
  The last four digits of Mattress Firm, Inc.’s federal tax identification number are 6008. The Debtors’ mailing address
is 10201 S. Main Street, Houston, Texas 77025. Due to the large number of Debtors in these chapter 11 cases, for
which the Debtors have requested joint administration, a complete list of the Debtors and the last four digits of their
federal tax identification numbers is not provided herein. This information may be obtained on the website of the
Debtors’ noticing and claims agent at http://dm.epiq.com/MattressFirm or by contacting counsel for the Debtors.
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                                        INTRODUCTION

        Mattress Firm, Inc. and its Affiliated debtors and debtors in possession (collectively, the
“Debtors”), hereby propose the following joint prepackaged plan of reorganization under
chapter 11 of the Bankruptcy Code for the resolution of the outstanding Claims against and
Interests in the Debtors. Capitalized terms used but not defined in this paragraph have the
meanings assigned to such terms in Article I. The classification and treatment of Claims against
and Interests in the Debtors are set forth in Article II and Article III. The Debtors are the
proponents of this Plan within the meaning of section 1129 of the Bankruptcy Code. Reference is
made to the Disclosure Statement, distributed contemporaneously herewith, for a discussion of the
Debtors’ history, business, results of operations, projections for those operations, risk factors, a
summary and analysis of this Plan, and certain related matters.

                                           ARTICLE I.

                    DEFINED TERMS AND RULES OF INTERPRETATION

       A.      Defined Terms.

               1.      “Administrative Expense Claim” means a Claim (other than a DIP Credit
Facilities Claim) for costs and expenses of administration of the Estates arising on or after the
Petition Date and prior to the Effective Date under sections 327, 328, 330, 365, 503(b), 507(a)(2),
507(b) or 1114(e)(2) of the Bankruptcy Code, including: (a) the actual and necessary costs and
expenses of preserving the Estates and operating the business of the Debtors; (b) Professional Fee
Claims, to the extent Allowed by the Bankruptcy Court; and (c) any Quarterly Fees.

             2.    “Affiliate” has the meaning ascribed to such term in section 101(2) of the
Bankruptcy Code. “Affiliated” shall have a correlative meaning.

               3.      “Allowed” means any Claim or Interest or any portion thereof (a) that the
Debtors have not disputed, either formally or informally, or (b) that has been (i) allowed by a Final
Order of the Bankruptcy Court, (ii) allowed pursuant to the terms of this Plan, or (iii) allowed by
agreement between the Holder of such Claim or Interest, on one hand, and the Debtors or the
Reorganized Debtors, as applicable, on the other hand; provided, however, that notwithstanding
anything in this Plan to the contrary, by treating a Claim as an “Allowed Claim” for purposes of
the Plan, the Debtors do not waive, and shall not be deemed to have waived, their rights to contest
the amount and/or validity of any disputed, contingent, or unliquidated Claim in the manner and
venue in which such Claim would have been determined, resolved, or adjudicated if the Chapter
11 Cases had not been commenced; provided further, that the amount of any “Allowed Claim” for
purposes of the Plan shall be determined in accordance with the Bankruptcy Code, including
sections 502(b)(6), 503(b), and 506 of the Bankruptcy Code.

               4.      “Assumed Contract” has the meaning ascribed to such term in Article VI.A.

               5.      “Assumed Lease” has the meaning ascribed to such term in Article VI.A.



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               6.      “Avoidance Actions” means any and all actual or potential claims or causes
of action to avoid a transfer of property or an obligation incurred by the Debtors arising under
sections 502(d), 542, 544, 545, 547, 548, 549, 550, 551, 552 or 553(b) of the Bankruptcy Code, or
under similar or related state or federal statutes or common law, including preference and
fraudulent transfer and conveyance laws, in each case whether or not litigation to prosecute such
claim(s) or cause(s) of action was commenced prior to the Effective Date.

               7.     “Bankruptcy Code” means title 11 of the United States Code, 11 U.S.C.
§§ 101–1532, as in effect on the Petition Date, together with any amendments and modifications
thereto that may subsequently be made applicable to the Chapter 11 Cases.

                8.    “Bankruptcy Court” means the United States Bankruptcy Court for the
District of Delaware or such other court having jurisdiction over the Chapter 11 Cases.

              9.      “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure as
promulgated by the United States Supreme Court under section 2075 of title 28 of the United States
Code, 28 U.S.C. § 2075, as applicable to the Chapter 11 Cases, and the general, local, and
chambers rules of the Bankruptcy Court.

               10.    “Business Day” means any day, other than a Saturday, Sunday or “legal
holiday” (as such term is defined in Bankruptcy Rule 9006(a)).

               11.     “Cash” means the legal tender of the United States of America.

                12.      “Cause of Action” means any claims, interests, damages, remedies, causes
of action, demands, rights, actions (including, without limitation, any Avoidance Actions), suits,
obligations, liabilities, accounts, defenses, offsets, powers, privileges, licenses, liens, indemnities,
guaranties, and franchises of any kind or character whatsoever, whether known or unknown,
foreseen or unforeseen, existing or hereinafter arising, contingent or non-contingent, liquidated or
unliquidated, secured or unsecured, assertable, directly or derivatively, matured or unmatured,
suspected or unsuspected, in contract, tort, law, equity, or otherwise. Causes of Action also
include: (a) all rights of setoff, counterclaim, or recoupment and claims under contracts or for
breaches of duties imposed by law or in equity; (b) the right to object to or otherwise contest
Claims or Interests; (c) claims that may be pursued under sections 362, 510, 542, 543, 544 through
550, or 553 of the Bankruptcy Code; (d) such claims and defenses as fraud, mistake, duress, and
usury, and any other defenses set forth in section 558 of the Bankruptcy Code; and (e) any
fraudulent transfer or similar claims arising under any state or foreign law.

                13.     “Chapter 11 Cases” means (a) when used with reference to a particular
Debtor, the chapter 11 case filed for such Debtor under chapter 11 of the Bankruptcy Code in the
Bankruptcy Court and (b) when used with reference to all Debtors, the jointly administered chapter
11 cases of all of the Debtors.

               14.     “Claim” means any “claim,” as defined in section 101(5) of the Bankruptcy
Code, against any of the Debtors.



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                15.     “Claims and Noticing Agent” means Epiq Corporate Restructuring, LLC,
in its capacity as claims and noticing agent for the Debtors.

             16.    “Claims Objection Deadline” means the deadline for objecting to a
Rejection Damages Claim, which shall be the date that is 180 days after the applicable Rejection
Damages Bar Date, subject to extension by order of the Bankruptcy Court.

              17.     “Claims Register” means the official register of Claims and Interests
maintained by the Claims and Noticing Agent.

                18.     “Class” means each category of Holders of Claims or Interests as set forth
in Article III pursuant to sections 1122 and 1123(a)(1) of the Bankruptcy Code.

                19.     “Compensation and Benefits Programs” means all compensation and
benefit plans, policies, and programs of the Debtors, and all amendments and modifications
thereto, applicable to the Debtors’ employees, former employees, retirees, and non-employee
directors, including, without limitation, all savings plans, retirement plans, health care plans,
disability plans, and incentive plans, deferred compensation plans and life, accidental death and
dismemberment insurance plans.

             20.      “Confirmation” means the entry of the Confirmation Order by the
Bankruptcy Court.

              21.    “Confirmation Date” means the date on which the Bankruptcy Court enters
the Confirmation Order on the docket of the Chapter 11 Cases.

              22.     “Confirmation Hearing” means the hearing held by the Bankruptcy Court
on confirmation of this Plan, as such hearing may be adjourned or continued from time to time.

               23.     “Confirmation Order” means the order of the Bankruptcy Court confirming
this Plan pursuant to section 1129 of the Bankruptcy Code.

                24.     “Creditors Committee” means the statutory committee of unsecured
creditors, if any, appointed by the Office of the United States Trustee pursuant to section 1102 of
the Bankruptcy Code.

                25.     “DIP ABL Agent” means Barclays Bank PLC as administrative agent and
co-collateral agent, issuer, joint book runner, joint lead arranger, and Citizens Bank, N.A. as co-
collateral agent under the DIP ABL Credit Facility.

              26.    “DIP ABL Credit Facility” means that certain $150 million first priority
Senior Secured Superpriority Debtor-in-Possession Asset-Based Revolving Credit Facility, by and
among the Debtors, the DIP ABL Agent and various lenders as approved by the DIP Orders.

               27.    “DIP Agents” means collectively, the DIP ABL Agent and the DIP Term
Loan Agent.

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             28.    “DIP Credit Facilities” means the DIP ABL Credit Facility and the DIP
Term Loan Credit Facility as approved by the DIP Orders.

                29.   “DIP Credit Facilities Claims” means any Claim derived from, arising
under, based upon, or secured by the DIP Credit Facilities or the DIP Orders, including claims for
all principal amounts outstanding and all interest, fees, expenses, costs and other charges arising
under or in connection with the DIP Credit Facilities.

               30.     “DIP Lenders” means the DIP Agents and those lenders in any lender
capacity from time to time party to the DIP Credit Facilities.

                 31.   “DIP Orders” means the Interim DIP Order and the Final DIP Order,
collectively.

                32.    “DIP Term Loan Agent” means Barclays Bank PLC as administrative agent
and collateral agent, book runner and lead arranger under the DIP Term Loan Credit Facility.

               33.    “DIP Term Loan Credit Facility” means that certain $100 million second
priority Senior Secured Superpriority Debtor-in-Possession Term Loan Credit Facility, by and
among the Debtors, the DIP Term Loan Agent and various lenders, as approved by the DIP Orders.

               34.      “Disallowed” means any Claim, or any portion thereof, that (a) has been
disallowed by Final Order or pursuant to a settlement among the Debtors and the holder thereof;
or (b) as to which, in respect of a Rejection Damages Claim, no Proof of Claim has been filed by
the Rejection Damages Bar Date or has been deemed timely filed pursuant to a Final Order of the
Bankruptcy Court. “Disallow” and “Disallowance” shall have correlative meanings.

              35.      “Disclosure Statement” means the disclosure statement that relates to this
Plan, including, without limitation, all exhibits and schedules thereto, as the same may be
amended, supplemented or otherwise modified from time to time, as approved by the Bankruptcy
Court pursuant to section 1125 of the Bankruptcy Code.

                 36.   “Disputed” means, with respect to a Claim, a Claim that is not yet Allowed
or Disallowed.

                37.    “Effective Date” means, and shall occur on, the Business Day on which
each of the conditions precedent to the effectiveness of the Plan as set forth in Article IX has been
satisfied or waived in accordance with the terms thereof.

                 38.   “Entity” means an entity as defined in section 101(15) of the Bankruptcy
Code.

              39.    “Estate” means, as to each Debtor, the estate created for such Debtor in its
Chapter 11 Case pursuant to sections 301 and 541 of the Bankruptcy Code.



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                40.     “Exculpated Fiduciaries” means each of the following solely in their
capacities as such: (a) the Debtors; (b) the Reorganized Debtors; and (c) with respect to each of
(a) and (b), to the extent employed in such capacities on or after the Petition Date, each of their
respective directors, officers, partners, managers, trustees, assigns, employees, agents, advisory
board members, attorneys, financial advisors, investment bankers, accountants, consultants and
other professionals or representatives.

               41.    “Exculpated Parties” means, collectively, the Exculpated Fiduciaries and
the Section 1125(e) Parties.

                 42.    “Executory Contract” means a contract to which one or more of the Debtors
is a party that is subject to assumption or rejection under sections 365 or 1123 of the Bankruptcy
Code.

                43.     “Exit ABL Agent” means Barclays Bank, PLC as administrative agent and
collateral agent, issuer and sole lead arranger.

              44.    “Exit ABL Documents” means the Exit ABL Facility and such other
financing documents to be entered into in connection with the Exit ABL Facility, including any
guarantee agreements, pledge and collateral agreements, intercreditor agreements and other
security documents.

              45.   “Exit ABL Facility” means a senior secured credit facility in a principal
amount of up to $125 million to be entered into between the Reorganized Debtors and the Exit
ABL Lenders on the Effective Date.

                46.   “Exit ABL Lender” means any lender in any lender capacity under the Exit
ABL Facility.

              47.     “Exit Agents” means, collectively, the Exit ABL Agent and the Exit Term
Loan Agent under each of (a) the Exit ABL Facility and (b) the Exit Term Loan Facility, including
any successors thereto.

             48.      “Exit Facilities” means, collectively, the Exit ABL Facility and the Exit
Term Loan Facility.

               49.   “Exit Facility Documents” means, collectively, the Exit ABL Documents
and the Exit Term Loan Documents.

              50.    “Exit Lenders” means, collectively, in their respective capacities as such,
the Exit ABL Lenders and the Exit Term Loan Lenders.

                51.     “Exit Term Loan Agent” means Barclays Bank PLC as administrative
agent, collateral agent and sole lead arranger.




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               52.     “Exit Term Loan Lender” means any lender under the Exit Term Loan
Facility.

               53.    “Exit Term Loan Lender Election” means the election available to the Exit
Term Loan Lenders pursuant to the Exit Term Loan Documents to receive either (i) the Stripes
Stock and the Stripes PIK Debt or (ii) the MF Holdco Stock and the MF Holdco PIK Debt on the
Effective Date; provided, however, that if the Stripes Restructuring shall have been consummated
on or before the Effective Date, the Exit Term Loan Lenders shall receive the Stripes Stock and
the Stripes PIK Debt.

               54.    “Exit Term Loan Documents” means the Exit Term Loan Facility and such
other financing documents to be entered into in connection with the Exit Term Loan Facility,
including any guarantee agreements, pledge and collateral agreements, intercreditor agreements
and other security documents.

              55.     “Exit Term Loan Facility” means the senior secured term loan facility in the
principal amount of $400 million to be entered into between the Reorganized Debtors and the Exit
Term Loan Lenders on the Effective Date.

               56.     “Final DIP Order” means the order of the Bankruptcy Court authorizing the
Debtors to enter into the DIP Credit Facilities on a final basis.

                57.     “Final Order” means an order or judgment of the Bankruptcy Court (or other
court of competent jurisdiction) that has not been reversed, vacated or stayed and as to which
(a) the time to appeal, petition for certiorari or move for a new trial, reargument or rehearing has
expired and as to which no appeal, petition for certiorari or other proceedings for a new trial,
reargument or rehearing shall then be pending, or (b) if an appeal, writ of certiorari, new trial,
reargument or rehearing thereof has been sought, such order or judgment of the Bankruptcy Court
(or other court of competent jurisdiction) shall have been affirmed by the highest court to which
such order was appealed, or certiorari shall have been denied or a new trial, reargument or
rehearing shall have been denied or resulted in no modification of such order, and the time to take
any further appeal, petition for certiorari or move for a new trial, reargument or rehearing shall
have expired; provided, however, that the possibility that a motion pursuant to section 502(j) or
1144 of the Bankruptcy Code or under Rule 59 or Rule 60 of the Federal Rules of Civil Procedure,
or any analogous rule under the Bankruptcy Rules, may be filed with respect to such order shall
not cause such order to not be a Final Order.

               58.    “General Unsecured Claim” means a Claim against the Debtors that is not
an Administrative Expense Claim, a DIP Credit Facilities Claim, Priority Tax Claim, an Other
Priority Claim, an Other Secured Claim, a Prepetition ABL Claim, a Prepetition Term Loan Claim,
or an Intercompany Claim.

               59.   “Governmental Unit” means a governmental unit as defined in section
101(27) of the Bankruptcy Code.




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              60.    “Holder” means an Entity holding a Claim against, or Interest in, one or
more of the Debtors.

             61.    “Impaired” means “impaired” within the meaning of section 1124 of the
Bankruptcy Code. “Impair” shall have a correlative meaning.

               62.     “Indemnification Obligations” means each of the Debtors’ indemnification
obligations in place as of the Effective Date, whether in the bylaws, certificates of incorporation
or formation, limited liability company agreements, or other organizational or formation
documents, board resolutions, management or indemnification agreements, or employment or
other contracts, or otherwise, for the past and present directors, officers, employees, attorneys,
accountants, investment bankers, and other professionals and agents who provided services to the
Debtors before or after the Petition Date.

               63.    “Intercompany Claim” means any Claim held by a Debtor against another
Debtor.
               64.    “Intercompany Interest” means an Interest in a Debtor held by another
Debtor.

                65.    “Interest” means any equity security within the meaning of section 101(16)
of the Bankruptcy Code, including any issued and outstanding common stock, preferred stock,
limited liability company interest, partnership interest, or any other instrument evidencing an
ownership interest in a Debtor that existed immediately before the Effective Date, whether or not
transferable, and any restricted stock units, calls, rights, puts, awards, commitments, repurchase
rights, unvested or unexercised options, rights of conversion, warrants, unvested common
interests, unvested preferred interests or any other agreements of any character related to the
common or preferred interests of a Debtor, obligating such Debtor to issue, transfer, purchase,
redeem, or sell any equity interests or other equity securities, and any rights under any equity
incentive plans, voting agreements and registration rights agreements regarding equity securities
of the Debtor.

               66.     “Interim DIP Order” means the order of the Bankruptcy Court authorizing
the Debtors to enter into the DIP Credit Facilities on an interim basis.

               67.     “Intra-Group Lenders” means, collectively, SEAG, Steinhoff Finance, and
Möbel in their capacities as lenders under the Intra-Group Loan Agreement.

              68.     “Intra-Group Loan Agreement” means that certain Intra-Group Loan
Agreement, dated as of September 16, 2016, between Stripes, as Borrower, certain of the Debtors,
as Guarantors, and SEAG, Möbel, and Steinhoff Finance, as Lenders (as amended, restated,
modified, supplemented, or assigned from time to time, including by that certain Amendment
Agreement dated as of December 22, 2017), and all related amendments, supplements, ancillary
agreements, notes and other documents and instruments executed or delivered in connection with
the Intra-Group Loan Facilities, in each case as amended, amended and restated, supplemented or
otherwise modified prior to the date hereof.



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                 69.     “Intra-Group Loan Claims” means any Claims derived from, based upon,
or relating to the Intra-Group Loan Guarantees.

               70.    “Intra-Group Loan Facilities” means, collectively: (a) that certain senior
unsecured Facility A Loan from Steinhoff Finance to Stripes in the original aggregate principal
amount of up to $850,000,000, as such Facility A Loan was subsequently assigned by Steinhoff
Finance to SEAG pursuant to the terms of that certain Assignment Agreement dated as of
September 16, 2016; (b) that certain senior unsecured Facility B Loan from Möbel to Stripes in
the original aggregate principal amount of up to $2,000,000,000; and (c) that certain senior
unsecured Facility C Loan from Möbel and SEAG to Stripes in the original aggregate principal
amount of up to $275,000,000, in each case as available or outstanding from time to time in
accordance with the terms of the Intra-Group Loan Agreement.

               71.     “Intra-Group Loan Guarantees” means the unsecured guarantees by certain
of the Debtors of Stripes’ obligations under the Intra-Group Loan Facilities.

               72.      “Lease Rejection Notice” means any notice of rejection of one or more
Unexpired Leases of nonresidential real property pursuant to section 365 of the Bankruptcy Code
that the Debtors file and serve in accordance with the Lease Rejection Procedures.

             73.   “Lease Rejection Procedures” means the procedures for the rejection of
Unexpired Leases as approved by the Bankruptcy Court pursuant to the Lease Rejection
Procedures Order.

               74.    “Lease Rejection Procedures Order” means the Order (I) Approving
Procedures for Rejecting Unexpired Leases of Nonresidential Real Property, (II) Authorizing the
Debtors to Enter Into Amendments to Certain Unexpired Leases of Nonresidential Real Property,
and (III) Granting Related Relief, entered by the Bankruptcy Court.

                75.    “Lien” means, with respect to any interest in property, any mortgage, “lien”
as defined in section 101(37) of the Bankruptcy Code, pledge, charge, security interest, easement
or encumbrance of any kind whatsoever affecting such interest in property.

               76.     “Management Incentive Plan” means the post-Effective Date management
incentive plan to be implemented by the Reorganized Debtors as defined in Article V.J.

              77.      “MFHC” means Mattress Firm Holding Corp., a non-Debtor Affiliate of the
Debtors and the direct parent company of MF Holdco.

               78.    “MF Holdco” means Mattress Holdco, Inc., a Delaware corporation and a
Debtor herein, and the direct or indirect parent of each of the other Debtors.

               79.     “MF Holdco PIK Debt” means the $150 million face amount payment-in-
kind debt, which may be issued by MF Holdco to the Exit Term Loan Lenders on the Effective
Date pursuant to the terms of the Exit Term Loan Documents.



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                80.     “MF Holdco Stock” means 49.9% of the common stock of MF Holdco on
a fully-diluted basis, which may be issued to the Exit Term Loan Lenders on the Effective Date
pursuant to the terms of the Exit Term Loan Documents.

               81.     “Möbel” means Steinhoff Möbel Holding Alpha GmbH, the direct parent
of SEAG.

               82.    “Notice of Effective Date” means the notice that all conditions to the
Effective Date have been satisfied or waived in accordance with Article IX.

               83.    “Opt-Out Election Form” means that certain form by which a Releasing
Party may “opt out” of the release set forth in Article X.D.2, in substantially the form approved by
the Bankruptcy Court, to be served on all Holders of Claims and Interests with the Notice of
Effective Date.

               84.    “Other Priority Claim” means any Claim accorded priority in right of
payment under section 507(a) of the Bankruptcy Code, other than an Administrative Expense
Claim or a Priority Tax Claim.

              85.     “Other Secured Claim” means any Secured Claim against the Debtors other
than a DIP Credit Facilities Claim, a Prepetition ABL Claim, or a Prepetition Term Loan Claim.

               86.     “Petition Date” means October 4, 2018.

              87.    “Plan” means this joint prepackaged plan of reorganization under chapter
11 of the Bankruptcy Code, either in its present form or as it may be altered, amended, modified,
or supplemented from time to time in accordance with the Bankruptcy Code and the Bankruptcy
Rules.

                88.     “Plan Support Agreement” means the Plan Support Agreement entered into
by Steinhoff Holdings, Steinhoff Finance, Möbel, SEAG, Stripes, MFHC, MF Holdco, Mattress
Holding Corp., and Mattress Firm, Inc. (collectively with each subsidiary of Mattress Firm, Inc.
that is a guarantor under the Intra-Group Loan Agreement) prior to the Petition Date, and consented
to by the requisite majority of Participants to the Steinhoff Lockup Agreement.

            89.     “Plan Support Parties” means Steinhoff Holdings, Steinhoff Finance,
Möbel, SEAG and Stripes.

                90.     “Post-Effective Date Lease Negotiation Period” means the ninety (90) day
period immediately following the Effective Date, during which time the Debtors shall be entitled
to file one or more Lease Rejection Notices with respect to the Unexpired Leases of nonresidential
real property listed on the Schedule of Post-Effective Date Negotiated Leases.

              91.     “Prepetition ABL Agent” means, collectively, Barclays Bank PLC as
Administrative Agent and Co-Collateral Agent, Issuer, Book Runner and Lead Arranger and
Citizens Bank, N.A. as Co-Collateral Agent, under the Prepetition ABL Facility.

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                92.     “Prepetition ABL Agreement” means that certain ABL Credit Agreement
dated as of December 22, 2017, as amended by that certain Amendment No. 1 dated as of January
31, 2018, that certain Amendment No. 2 dated as of February 2, 2018, and that certain Amendment
No. 3 dated as of March 26, 2018, among Mattress Firm, Inc. as Borrower, certain of the other
Debtors as Guarantors, the Prepetition ABL Agent, and the Prepetition ABL Lenders.

                93.     “Prepetition ABL Claim” means any Claim derived from, based upon, or
relating to the Prepetition ABL Documents.

               94.   “Prepetition ABL Documents” means the Prepetition ABL Agreement and
any other agreements or documents executed in connection therewith or related thereto.

               95.    “Prepetition ABL Facility” means the prepetition senior secured revolving
financing in the aggregate principal amount of up to $150,000,000 provided by the Prepetition
ABL Lenders pursuant to the Prepetition ABL Documents.

                96.    “Prepetition ABL Lenders” means the Prepetition ABL Agent and the other
lenders in any lender capacity from time to time party to the Prepetition ABL Facility.

             97.    “Prepetition Debt Documents” means, collectively, the Prepetition ABL
Documents and the Prepetition Term Loan Documents.

               98.    “Prepetition Term Loan Agreement” means that certain Term Loan
Agreement, dated as of March 26, 2018 (as amended, restated, modified or supplemented from
time to time) among Mattress Firm, Inc., as Borrower, certain of the other Debtors, as guarantors,
and the Prepetition Term Loan Lender.

             99.    “Prepetition Term Loan Claim” means any Claim held by the Prepetition
Term Loan Lender that arises under, is derived from, based upon, or related to the Prepetition
Term Loan Facility.

             100. “Prepetition Term Loan Documents” means the Prepetition Term Loan
Agreement and any other agreements or documents executed in connection therewith or related
thereto.

                101. “Prepetition Term Loan Facility” means the prepetition senior secured term
loan credit facility in the original aggregate principal amount of up to $80,000,000 provided by
the Prepetition Term Loan Lender pursuant to the Prepetition Term Loan Documents.

               102. “Prepetition Term Loan Lender” means Steinhoff International Holdings
N.V. in its capacity as the lender under the Prepetition Term Loan Facility.

               103. “Priority Tax Claim” means any Claim of a Governmental Unit entitled to
priority in payment under sections 502(i) and 507(a)(8) of the Bankruptcy Code.



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               104. “Professional” means any Entity retained by the Debtors or a statutory
committee, if any, pursuant to a Final Order of the Bankruptcy Court entered pursuant to
sections 327, 328 and/or 1103 of the Bankruptcy Code.

                105. “Professional Fee Claim” means any Claim of a Professional for allowance
and award by the Bankruptcy Court of compensation for services rendered and/or reimbursement
of costs or expenses incurred in the Chapter 11 Cases on or before the Effective Date under sections
328, 330, 331, 363, or 503(b) of the Bankruptcy Code.

              106.      “Proof of Claim” means a proof of Claim filed against any Debtor in the
Chapter 11 Cases.

               107. “Quarterly Fees” means all fees due and payable pursuant to section
1930(a)(6) of title 28 of the United States Code.

                 108. “Reinstate,” “Reinstated” or “Reinstatement” means (a) leaving unaltered
the legal, equitable and contractual rights to which a Claim or Interest entitles the Holder of such
Claim or Interest, or (b) notwithstanding any contractual provision or applicable law that entitles
the Holder of such Claim or Interest to demand or receive accelerated payment of such Claim or
Interest after the occurrence of a default, (i) curing any such default that occurred before or after
the Petition Date, other than a default of a kind specified in section 365(b)(2) of the Bankruptcy
Code; (ii) reinstating the maturity of such Claim or Interest as such maturity existed before such
default; (iii) compensating the Holder of such Claim or Interest for any damages incurred as a
result of any reasonable reliance by such Holder on such contractual provision or such applicable
law; (iv) if such Claim or Interest arises from any failure to perform a nonmonetary obligation
other than a default arising from failure to operate under a nonresidential real property lease subject
to section 365(b)(1)(A) of the Bankruptcy Code, compensating the Holder of such Claim or
Interest (other than the Debtors or an “insider” of the Debtors within the meaning of section
101(31) of the Bankruptcy Code) for any actual pecuniary loss incurred by such Holder as the
result of such failure; and (v) not otherwise altering the legal, equitable or contractual rights to
which such Claim or Interest entitles the Holder thereof.

                109. “Rejection Damages Bar Date” means, with respect to each applicable
Executory Contract or Unexpired Lease, 5:00 p.m. (prevailing Eastern Time) on the date that is
thirty (30) days after the Effective Date; provided, however, that, solely in respect of Unexpired
Leases included on the Schedule of Post-Effective Date Negotiated Leases that are rejected by an
order of the Bankruptcy Court after the Effective Date, the Rejection Damages Bar Date shall be
the latest to occur of (a) 5:00 p.m. (prevailing Eastern Time) on the date that is thirty (30) days
after entry of the order approving the rejection of such Unexpired Lease, and (b) 5:00 p.m.
(prevailing Eastern Time) on the date that is thirty (30) days after the effective date of the rejection
of such Unexpired Lease.

              110. “Rejection Damages Claim” means a Claim resulting from the rejection of
an Executory Contract or Unexpired Lease pursuant to section 365 of the Bankruptcy Code.




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              111. “Rejection Motion” means any motion requesting authorization to reject
one or more Executory Contracts or Unexpired Leases pursuant to section 365 of the Bankruptcy
Code.

               112. “Related Parties” means, with respect to any Entity, such Entity’s
predecessors, successors and assigns (whether by operation of law or otherwise) and their
respective present Affiliates and subsidiaries and each of their respective current members,
partners, equity holders, controlling persons, officers, directors, employees, managers,
shareholders, partners, financial advisors, attorneys, accountants, investment bankers, consultants,
agents and professionals each acting in such capacity (solely in their capacity as such), and any
Entity claiming by or through any of them (including their respective officers, directors, managers,
shareholders, partners, employees, equity holders, members, and professionals).

                113. “Released Parties” means, collectively, the following Entities, solely in
their capacities as such: (a) the Debtors, (b) the Reorganized Debtors, (c) the Prepetition ABL
Agent, (d) the Prepetition ABL Lenders, (e) the Prepetition Term Loan Lender, (f) the Intra-Group
Lenders, (g) the DIP Agents, (h) the DIP Lenders, (i) the Exit Agents, (j) the Exit Lenders, (k) the
Plan Support Parties, and (l) MFHC, and, with respect to each of the foregoing Entities specified
in clauses (a) through (l), such Entities’ Related Parties; provided, however, that any Holder of a
Claim or Interest that validly “opts out” by timely returning an Opt-Out Election Form shall not
be a “Released Party”.

                114. “Releasing Parties” means, collectively, the following Entities, solely in
their capacities as such: (a) the Debtors, (b) the Reorganized Debtors, (c) the Prepetition ABL
Agent, (d) the Prepetition ABL Lenders, (e) the Prepetition Term Loan Lender, (f) the Intra-Group
Lenders, (g) the DIP Agents, (h) the DIP Lenders, (i) the Exit Agents, (j) the Exit Lenders, (k) the
Plan Support Parties, (l) MFHC, and (m) all Holders of Claims or Interests that are presumed to
accept this Plan pursuant to section 1126(f) of the Bankruptcy Code, and, with respect to each of
the foregoing Entities specified in clauses (a) through (m), such Entities’ Related Parties; provided,
however, that any Holder of a Claim or Interest that validly “opts out” by timely returning an Opt-
Out Election Form shall not be a “Releasing Party.”

              115. “Remaining Property” shall have the meaning set forth in the Lease
Rejection Procedures Order.

                116. “Reorganized Debtors” means the Debtors, as reorganized pursuant to and
under this Plan, or any successor thereto by merger, consolidation, conversion or otherwise, on or
after the Effective Date, after giving effect to the transactions implementing this Plan.

              117. “Schedule of Post-Effective Date Negotiated Leases” means the schedule
of all Unexpired Leases, including any amendments or modifications thereto, as to which the
applicable counterparty has consented in writing to the Debtors’ deferral of their decision on
assumption or rejection during the Post-Effective Date Lease Negotiation Period, as such schedule
may be amended from time to time until the occurrence of the Effective Date.

               118.    “SEAG” means Steinhoff Europe AG, the direct parent company of Stripes.

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                119. “Section 1125(e) Parties” means each of the following, solely in their
respective capacities as such: (a) the Prepetition ABL Agent, (b) the Prepetition ABL Lenders, (c)
the Prepetition Term Loan Lender, (d) the Intra-Group Lenders, (e) the DIP Agents, (f) the DIP
Lenders, (g) the Exit Agents, (h) the Exit Lenders, and (i) the Plan Support Parties, and, with
respect to each of the foregoing parties under (a) through (i), such Entities’ Related Parties,
directors, officers, and professionals.

                   120.   “Specified Unimpaired Claim” has the meaning ascribed to such term in
Article III.C.1.

             121. “Steinhoff Finance” means Steinhoff Finance Holding GmbH, the direct
parent company of Möbel.

              122. “Steinhoff Global Restructuring” means the restructuring transactions
contemplated by the Steinhoff Lockup Agreement.

                   123.   “Steinhoff Holdings” means Steinhoff International Holdings N.V.

                124. “Steinhoff Lockup Agreement” means that certain Lock-Up Agreement
dated July 11, 2018 between Steinhoff International Holdings N.V. and certain direct and indirect
subsidiaries thereof as the Obligors and certain lenders to such Obligors as the Participants.

              125. “Stripes” means Stripes US Holding, Inc., a non-Debtor Affiliate of the
Debtors and the direct parent company of MFHC.

                126. “Stripes PIK Debt” means the $150 million face amount payment-in-kind
debt, which may be issued by Stripes to the Exit Term Loan Lenders on the Effective Date pursuant
to the terms of the Exit Term Loan Documents.

                127. “Stripes Restructuring” means the restructuring of Stripes pursuant to the
Steinhoff Lockup Agreement, that will be implemented with the consent of the lenders under a
revolving loan facility in the original aggregate principal amount of $200,000,000 under the $4
billion acquisition facilities agreement dated August 5, 2016 (as amended or restated from time to
time) between, among others, Stripes, Steinhoff Finance, Möbel, SEAG, Steinhoff Holdings and
J.P. Morgan Europe Limited (as Agent) or pursuant to a scheme of arrangement for Stripes in the
United Kingdom.

                128. “Stripes Stock” means 49.9% of the common stock of Stripes on a fully-
diluted basis, which may be issued to the Exit Term Loan Lenders on the Effective Date pursuant
to the terms of the Exit Term Loan Documents.

                129. “Unexpired Lease” means a lease to which one or more of the Debtors is a
party that is subject to assumption or rejection under section 365 of the Bankruptcy Code.




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              130. “Unimpaired” means any Claim or Interest that is not Impaired, including
any Claim or Interest that is Reinstated.

                131. “United States Trustee” means the Office of the United States Trustee for
the District of Delaware.


       B.      Rules of Interpretation.

        For purposes of this Plan, unless otherwise provided herein: (1) whenever from the context
it is appropriate, each term, whether stated in the singular or the plural, will include both the
singular and the plural; (2) unless otherwise provided in this Plan, any reference in this Plan to a
contract, instrument, release, or other agreement or document being in a particular form or on
particular terms and conditions means that such document will be substantially in such form or
substantially on such terms and conditions; (3) any reference in this Plan to an existing document,
schedule or exhibit filed or to be filed means such document, schedule or exhibit, as it may have
been or may be amended, modified, or supplemented pursuant to this Plan; (4) any reference to an
entity as a Holder of a Claim or Interest includes that Entity’s successors and assigns; (5) all
references in this Plan to Articles are references to Articles of this Plan, as the same may be
amended, waived or modified from time to time; (6) the words “herein,” “hereof,” “hereto,”
“hereunder” and other words of similar import refer to this Plan as a whole and not to any particular
Article, paragraph, or clause contained in this Plan; (7) the words “include” and “including,” and
variations thereof, shall not be deemed to be terms of limitation and shall be deemed to be followed
by the words “without limitation;” (8) captions and headings to Articles are inserted for
convenience of reference only and are not intended to be a part of or to affect the interpretation of
this Plan; (9) the rules of construction set forth in section 102 of the Bankruptcy Code (other than
section 102(5) of the Bankruptcy Code) will apply; and (10) any reference to an Entity’s
“subsidiaries” means its direct and indirect subsidiaries

       C.      Computation of Time.

        In computing any period of time prescribed or allowed by this Plan, unless otherwise
expressly provided, the provisions of Bankruptcy Rule 9006(a) shall apply. In the event that any
payment, distribution, act or deadline under this Plan is required to be made or performed or occurs
on a day that is not a Business Day, then such payment, distribution, act or deadline shall be
deemed to occur on the next succeeding Business Day, but if so made, performed or completed by
such next succeeding Business Day, shall be deemed to have been completed or to have occurred
as of the required date.

       D.      Deemed Acts.

       Whenever an act or event is expressed under this Plan to have been deemed done or to have
occurred, it shall be deemed to have been done or to have occurred by virtue of this Plan and/or
Confirmation Order without any further act by any party.




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                                           ARTICLE II.

            ADMINISTRATIVE EXPENSE CLAIMS, DIP CREDIT FACILITIES
              CLAIMS, PRIORITY TAX CLAIMS, AND QUARTERLY FEES

        In accordance with section 1123(a)(1) of the Bankruptcy Code, Administrative Expense
Claims, DIP Credit Facilities Claims, and Priority Tax Claims have not been classified and thus
are excluded from the Classes of Claims and Interests set forth in Article III.

       A.      Administrative Expense Claims.

               1.      General.

        Subject to the terms of the Confirmation Order and Article II.A.2 and Article II.A.3, except
to the extent that a Holder of an Allowed Administrative Expense Claim and the applicable
Debtor(s) agree to less favorable treatment with respect to such Allowed Administrative Expense
Claim, each Holder of an Allowed Administrative Expense Claim shall receive, on account of and
in full and complete settlement, release and discharge of, and in exchange for, such Allowed
Administrative Expense Claim, payment of Cash equal to the full unpaid amount of such Allowed
Administrative Expense Claim: (a) on the Effective Date or as soon as reasonably practicable
thereafter, or, if not then due, when such Allowed Administrative Expense Claim is due or as soon
as reasonably practicable thereafter; (b) if an Administrative Expense Claim is Allowed after the
Effective Date, on the date such Administrative Expense Claim is due or as soon as reasonably
practicable thereafter; (c) on such other date and upon such terms as such Holder and the Debtors
or the Reorganized Debtors shall have agreed; or (d) as otherwise ordered by the Bankruptcy
Court; provided, however, that Allowed Administrative Expense Claims that arise in the ordinary
course of the Debtors’ business during the Chapter 11 Cases shall be paid in full in Cash in the
ordinary course of business and in accordance with the terms and conditions of the particular
agreements governing such obligations, course of dealing, course of business, or industry practice.

               2.      Professional Fee Claims.

         All Professionals or other Entities requesting compensation or reimbursement of expenses
pursuant to sections 328, 330, 331, 503(b) and/or section 1103 of the Bankruptcy Code for services
rendered before the Effective Date (including, without limitation, any compensation requested by
any Professional or any other entity for making a substantial contribution in the Chapter 11 Cases)
shall file and serve final requests for allowance and payment of Professional Fee Claims no later
than the first Business Day that is forty-five (45) days after the Effective Date. Objections to any
Professional Fee Claim must be filed and served on the Reorganized Debtors and the applicable
Professional within thirty (30) days after the filing of the final fee application with respect to the
Professional Fee Claim. Any such objections that are not consensually resolved may be set for
hearing on twenty-one (21) days’ notice by the Professional asserting such Professional Fee Claim.
The Reorganized Debtors shall promptly pay all amounts owed on account of Professional Fee
Claims upon entry of an order of the Bankruptcy Court allowing such Claims on a final basis.




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               3.      Payment of Quarterly Fees.

        The Debtors shall pay on the Effective Date all Quarterly Fees due and payable prior to the
Effective Date. On and after the Effective Date, the Reorganized Debtors shall pay any and all
Quarterly Fees when due and payable, and shall file with the Bankruptcy Court quarterly reports
in a form reasonably acceptable to the United States Trustee. Each Debtor shall remain obligated
to pay Quarterly Fees to the United States Trustee until the earliest of that particular Debtor’s case
being closed, dismissed, or converted to a case under chapter 7 of the Bankruptcy Code. The
United States Trustee shall not be required to file a Proof of Claim or any other request for payment
of Quarterly Fees.

       B.      DIP Credit Facilities Claims.

         The DIP Credit Facilities Claims shall be Allowed Claims in the full amount outstanding
under the DIP Credit Facilities, including principal, interest, fees, and expenses. Except to the
extent that a Holder of an Allowed DIP Credit Facilities Claim agrees to less favorable treatment,
on the Effective Date, each Holder of an Allowed DIP Credit Facilities Claim shall receive, on
account of and in full and final satisfaction, settlement, release, and discharge of each Allowed
DIP Credit Facilities Claim, indefeasible payment in full in Cash. Upon the payment or
satisfaction of the Allowed DIP Credit Facilities Claims in accordance with this Article II.B, all
Liens and security interests granted to secure the Allowed DIP Credit Facilities Claims shall be
automatically terminated and of no further force or effect without any further notice to or action,
order, or approval of the Bankruptcy Court or any other Entity. As used in this Article II.B,
“indefeasible payment in full in Cash” shall mean the indefeasible payment in full in Cash of all
Allowed DIP Credit Facilities Claims (including all fees and expenses of the DIP Agents through
the Effective Date in accordance with the payoff letter), the cancellation, backing, or cash
collateralization of letters of credit under the DIP Credit Facilities in accordance with the terms of
the DIP Credit Facilities, the termination of the DIP Agents’ and DIP Lenders’ commitments to
extend credit under the DIP Facility, and the receipt by the DIP Agents of a countersigned payoff
letter in form and substance reasonably satisfactory to the DIP Agents.

       C.      Priority Tax Claims.

        Except to the extent that each Holder of an Allowed Priority Tax Claim agrees to less
favorable treatment, each Holder of an Allowed Priority Tax Claim shall receive on account of
and in full and complete settlement, release and discharge of, and in exchange for, such Allowed
Priority Tax Claim, payment in full in Cash in accordance with the terms of any agreement between
the applicable Debtor or Reorganized Debtor, as applicable, and such Holder, or as such Allowed
Priority Tax Claim may be due and payable under applicable non-bankruptcy law or in the ordinary
course of business.

       D.      Post-Effective Date Fees and Expenses.

        Except as otherwise specifically provided in this Plan, from and after the Effective Date,
the Reorganized Debtors shall, in the ordinary course of business and without any further notice
to or action, order or approval of the Bankruptcy Court, pay in Cash the legal, professional, or

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other fees and expenses related to the implementation and consummation of this Plan incurred by
the Reorganized Debtors following the Effective Date. Upon the Effective Date, any requirement
that Professionals comply with sections 327 through 331 and 1103 of the Bankruptcy Code in
seeking retention or compensation for services rendered after such date shall terminate, and each
Reorganized Debtor may employ and pay any professional for services rendered or expenses
incurred after the Effective Date in the ordinary course of business without any further notice to
or action, order or approval of the Bankruptcy Court.

                                           ARTICLE III.

                          CLASSIFICATION AND TREATMENT
                        OF CLASSIFIED CLAIMS AND INTERESTS

         A.     Classification of Claims and Interests.

                1.     General.

        This Plan constitutes a separate chapter 11 plan of reorganization for each Debtor. Except
for the Claims addressed in Article II (or as otherwise set forth herein), the Debtors have placed
all Claims and Interests into Classes for each of the Debtors. In accordance with section 1123(a)(1)
of the Bankruptcy Code, the Debtors have not classified Administrative Claims, DIP Credit
Facilities Claims, or Priority Tax Claims, as described in Article II.

        The Classes of Claims and Interests set forth below classify Claims and Interests for all
purposes, including Confirmation and distribution pursuant to this Plan, as set forth herein. This
Plan deems a Claim or Interest to be classified in a particular Class only to the extent that the Claim
or Interest qualifies within the description of that Class, and any Claim or Interest shall be deemed
classified in a different Class to the extent that any remainder of such Claim or Interest qualifies
within the description of such different Class. A Claim or Interest is in a particular Class only to
the extent that such Claim or Interest is Allowed in that Class and has not been paid, released, or
otherwise settled prior to the Effective Date.

                2.     Summary of Classification and Treatment of Claims and Interests.

 Class                  Claim                  Status                    Voting Rights
   1      Other Priority Claims              Unimpaired     Presumed to Accept; Not Entitled to Vote
   2      Other Secured Claims               Unimpaired     Presumed to Accept; Not Entitled to Vote
   3      Prepetition ABL Claims             Unimpaired     Presumed to Accept; Not Entitled to Vote
   4      Prepetition Term Loan Claims       Unimpaired     Presumed to Accept; Not Entitled to Vote
   5      General Unsecured Claims           Unimpaired     Presumed to Accept; Not Entitled to Vote
   6      Intercompany Claims                Unimpaired     Presumed to Accept; Not Entitled to Vote
   7      Interests in MF Holdco              Impaired                  Entitled to Vote
   8      Intercompany Interests             Unimpaired     Presumed to Accept; Not Entitled to Vote




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       B.      Treatment of Claims and Interests.

               1.     Class 1 – Other Priority Claims.

                      a.      Classification: Class 1 consists of all Other Priority Claims.

                        b.     Treatment: Except to the extent that a Holder of an Allowed Other
Priority Claim agrees to less favorable treatment, in exchange for full and final satisfaction,
settlement, release, and discharge of (including any Liens related thereto) each Allowed Other
Priority Claim, each Holder of an Allowed Other Priority Claim shall receive payment in full in
Cash of such Allowed Other Priority Claim on or as soon as reasonably practicable after the last
to occur of (i) the Effective Date, (ii) the date such Other Priority Claim becomes and Allowed
Claim, (iii) the date on which such Allowed Other Priority Claim is due to be paid in the ordinary
course of business of the Debtors or Reorganized Debtors, if applicable, and (iv) the date on which
the Holder of such Allowed Other Priority Claim and the Debtors or Reorganized Debtors shall
otherwise agree in writing.

                        c.      Voting: Allowed Other Priority Claims in Class 1 are Unimpaired.
Each Holder of an Allowed Other Priority Claim shall be conclusively presumed to have accepted
this Plan pursuant to section 1126(f) of the Bankruptcy Code and therefore shall not be entitled to
vote to accept or reject this Plan.

               2.     Class 2 – Other Secured Claims.

                      a.      Classification: Class 2 consists of all Other Secured Claims.

                        b.      Treatment: Except to the extent that a Holder of an Allowed Other
Secured Claim agrees to less favorable treatment, in exchange for full and final satisfaction,
settlement, release, and discharge of (including any Liens related thereto) each Allowed Other
Secured Claim, each Holder of an Allowed Other Secured Claim shall, in the discretion of the
Reorganized Debtors, receive (i) treatment of such Allowed Other Secured Claim in any manner
that renders the claim Unimpaired, including Reinstatement, (ii) payment in full in Cash, including
the payment of any interest required to be paid under section 506(b) of the Bankruptcy Code, or
(iii) the collateral securing such Allowed Other Secured Claim, in each case on or as soon as
reasonably practicable after the Effective Date.

                        c.      Voting: Allowed Other Secured Claims in Class 2 are Unimpaired.
Each Holder of an Allowed Other Secured Claim shall be conclusively deemed to have accepted
this Plan pursuant to section 1126(f) of the Bankruptcy Code and therefore shall not be entitled to
vote to accept or reject this Plan.




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               3.      Class 3 – Prepetition ABL Claims.

                       a.      Classification: Class 3 consists of all Prepetition ABL Claims.

                        b.     Allowance: The Prepetition ABL Claims are Allowed and will be
paid in full by being deemed to roll-up into the DIP ABL Credit Facility pursuant to the DIP Orders
in the full principal amount plus all accrued and unpaid fees, costs, expenses, interest (at the non-
default rate), charges, premiums and other obligations due under the Prepetition ABL Facility and
such Prepetition ABL Claims shall not be subject to recharacterization, subordination, avoidance
or any other claim or defense.

                        c.     Treatment: In exchange for full and final satisfaction, settlement,
release, and discharge of (including any Liens related thereto) each Allowed Prepetition ABL
Claim, each Holder of an Allowed Prepetition ABL Claim will receive indefeasible payment in
full of such Allowed Prepetition ABL Claim through the consensual roll-up of the Allowed
Prepetition ABL Claims into the DIP ABL Credit Facility in accordance with the terms of the DIP
Orders and the DIP ABL Credit Facility; provided, however, that all indemnification obligations
of the Debtors arising under the Prepetition ABL Documents in favor of the Prepetition ABL Agent
or any Prepetition ABL Lender, or any of their directors, officers, employees, agents, affiliates,
controlling persons, and legal and financial advisors, shall remain in full force and effect and be
assumed by and enforceable against the Reorganized Debtors on and after the Effective Date.

                        d.      Voting: Allowed Prepetition ABL Claims in Class 3 are
Unimpaired. Each Holder of an Allowed Prepetition ABL Claim shall be conclusively deemed to
have accepted this Plan pursuant to section 1126(f) of the Bankruptcy Code and therefore shall not
be entitled to vote to accept or reject this Plan.

               4.      Class 4 – Prepetition Term Loan Claims.

                       a.      Classification:   Class 4 consists of all Prepetition Term Loan
Claims.

                       b.      Allowance: The Prepetition Term Loan Claims are Allowed in the
full principal amount plus all accrued and unpaid fees, costs, expenses, interest (at the non-default
rate), charges, premiums and other obligations due under the Prepetition Term Loan Facility, and
such Prepetition Term Loan Claims shall not be subject to recharacterization, subordination,
avoidance or any other claim or defense.

                      c.       Treatment: In exchange for full and final satisfaction, settlement,
release, and discharge of (including any Liens related thereto) each Allowed Prepetition Term
Loan Claim, each Holder of an Allowed Prepetition Term Loan Claim shall receive indefeasible
payment in full in Cash of such Allowed Prepetition Term Loan Claim on the Effective Date;
provided, however, that all indemnification obligations of the Debtors arising under the Prepetition
Term Loan Documents in favor of the Prepetition Term Loan Lender, or its directors, officers,
employees, agents, affiliates, controlling persons, and legal and financial advisors, shall remain in



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full force and effect and be assumed by and enforceable against the Reorganized Debtors on and
after the Effective Date.

                        d.      Voting: Allowed Prepetition Term Loan Claims in Class 4 are
Unimpaired. Each Holder of an Allowed Prepetition Term Loan Claim shall be conclusively
deemed to have accepted this Plan pursuant to section 1126(f) of the Bankruptcy Code and
therefore shall not be entitled to vote to accept or reject this Plan.

               5.      Class 5 – General Unsecured Claims.

                       a.      Classification: Class 5 consists of all General Unsecured Claims.

                       b.      Allowance: On the Effective Date, the Intra-Group Loan Claims
shall be Allowed.

                       c.      Treatment:

                              (i)     Subject to Article III.B.5.c(ii) and Article III.B.5.c(iii) in
respect of Allowed General Unsecured Claims that are Rejection Damages Claims or Intra-Group
Loan Claims, except to the extent that a Holder of an Allowed General Unsecured Claim agrees to
less favorable treatment, in exchange for full and final satisfaction, settlement, release, and
discharge of each Allowed General Unsecured Claim, each Holder of an Allowed General
Unsecured Claim shall receive payment in full of such Allowed General Unsecured Claim in Cash
on or as soon as reasonably practicable after the last to occur of (x) the Effective Date, (y) the date
on which an Allowed General Unsecured Claim is due to be paid in the ordinary course of business
of the Debtors or the Reorganized Debtors, or (z) the date on which the Holder of an Allowed
General Unsecured Claim and the Debtors or Reorganized Debtors shall otherwise agree in
writing.

                               (ii)   Except to the extent that a Holder of an Allowed General
Unsecured Claim that is a Rejection Damages Claim agrees to less favorable treatment, in
exchange for full and final satisfaction, settlement, release, and discharge of each Allowed
Rejection Damages Claim, each Holder of an Allowed Rejection Damages Claim shall receive
payment in full of such Allowed Rejection Damages Claim in Cash on or as soon as reasonably
practicable after the last to occur of (x) the date such Rejection Damages Claim becomes an
Allowed Claim pursuant to Article VII.B.2 or (y) the date on which the Holder of an Allowed
Rejection Damages Claim and the Debtors or Reorganized Debtors shall otherwise agree in
writing.

                               (iii)  Each Holder of an Allowed General Unsecured Claim that is
an Intra-Group Loan Claim has, in accordance with section 1123(a)(4) of the Bankruptcy Code,
agreed to less favorable treatment of such Allowed Intra-Group Loan Claim. Specifically, each
Holder of an Allowed Intra-Group Loan Claim against each Debtor has agreed to receive no
distributions under the Plan solely on account of such Allowed Intra-Group Loan Claims, and the
Intra-Group Loan Guarantees by such Debtors shall be released on the Effective Date.



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                        d.     Voting: Allowed General Unsecured Claims in Class 5 are
Unimpaired. Each Holder of an Allowed General Unsecured Claim shall be conclusively deemed
to have accepted this Plan pursuant to section 1126(f) of the Bankruptcy Code and therefore shall
not be entitled to vote to accept or reject this Plan.

                6.     Class 6 – Intercompany Claims.

                       a.      Classification: Class 6 consists of all Intercompany Claims.

                       b.      Treatment: On the Effective Date, all Intercompany Claims shall be
Reinstated.

                         c.      Voting: Allowed Intercompany Claims in Class 6 are Unimpaired.
Each Holder of an Allowed Intercompany Claim shall be conclusively deemed to have accepted
this Plan pursuant to section 1126(f) of the Bankruptcy Code and therefore shall not be entitled to
vote to accept or reject this Plan.

                7.     Class 7 – Interests in MF Holdco.

                       a.      Classification: Class 7 consists of all Interests in MF Holdco.

                      b.     Treatment: On the Effective Date, all Interests in MF Holdco shall
be Reinstated; provided, however, that such Interests shall, if the MF Holdco Stock is issued to the
Exit Term Loan Lenders pursuant to the Exit Term Loan Lender Election, be subject to dilution
by (i) the MF Holdco Stock and (ii) the Interests reserved by MF Holdco for the Management
Incentive Plan.

                       c.    Voting: Interests in MF Holdco in Class 7 are Impaired. Each
Holder of an Interest in MF Holdco shall be entitled to vote to accept or reject this Plan.

                8.     Class 8 – Intercompany Interests.

                       a.      Classification: Class 8 consists of all Intercompany Interests.

                         b.     Treatment: On the Effective Date, Intercompany Interests shall be
Reinstated, and the legal, equitable, and contractual rights to which Holders of Intercompany
Interests are entitled shall remain unaltered to the extent necessary to implement this Plan.

                        c.    Voting: Intercompany Interests in Class 8 are Unimpaired. Each
Holder of an Intercompany Interest shall be conclusively deemed to have accepted this Plan
pursuant to section 1126(f) of the Bankruptcy Code and therefore shall not be entitled to vote to
accept or reject this Plan.

        C.      Special Provisions Regarding Unimpaired Claims.




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               1.      Specified Unimpaired Claims.

        Notwithstanding anything to the contrary in this Plan, each Holder of an Allowed Other
Priority Claim in Class 1, an Allowed Other Secured Claim in Class 2, an Allowed General
Unsecured Claim in Class 5 other than a Rejection Damages Claim or an Intra-Group Loan Claim,
or an Allowed Intercompany Claim in Class 6 (each such Allowed Claim, a “Specified Unimpaired
Claim”) shall be entitled to enforce its rights in respect of such Specified Unimpaired Claim against
the Reorganized Debtors until such Specified Unimpaired Claim has been either (a) paid in full in
accordance with applicable law, or on terms agreed to between the Holder of such Specified
Unimpaired Claim and the Debtors or Reorganized Debtors, or in accordance with the terms and
conditions of the applicable documentation or laws giving rise to such Specified Unimpaired Claim
or (b) otherwise satisfied or disposed of as determined by a court of competent jurisdiction.

               2.      Rights and Defenses of the Debtors and the Reorganized Debtors.

        Except as otherwise provided in this Plan, the Debtors and the Reorganized Debtors shall
retain all rights and defenses, both legal and equitable, under the Bankruptcy Code or other
applicable bankruptcy and non-bankruptcy law with respect to any Unimpaired Claim (other than
the power to Impair an Unimpaired Claim within the meaning of section 1124 of the Bankruptcy
Code), including, but not limited to, legal and equitable rights of setoff and/or recoupment with
respect to the Unimpaired Claims.

       D.      Alternative Treatment.

        Notwithstanding any provision herein to the contrary, any Holder of an Allowed Claim
may receive, in lieu of the distribution or treatment to which it is entitled hereunder, any other
distribution or treatment to which such Holder and the Debtors or Reorganized Debtors may agree
in writing prior to or during the Chapter 11 Cases, including the Plan Support Agreement.

                                          ARTICLE IV.

                         ACCEPTANCE OR REJECTION OF PLAN

        Holders of Claims or Interests in Classes 1–6 and Holders of Interests in Class 8 are
Unimpaired under this Plan and are therefore conclusively presumed to have accepted this Plan
pursuant to section 1126(f) of the Bankruptcy Code. Accordingly, no Holders of Claims or
Interests in such Classes shall be entitled to vote to accept or reject this Plan. Class 7 is Impaired
under this Plan, and the Holders of Interests in Class 7 are entitled to vote to accept or reject this
Plan.

                                           ARTICLE V.

                        MEANS FOR IMPLEMENTATION OF PLAN

       A.      Sources of Cash Consideration for Plan Distributions.



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        All Cash necessary for the Reorganized Debtors to make payments required by this Plan
shall be obtained from (1) Cash on hand, including Cash from operations and the proceeds of the
DIP Credit Facilities, and (2) the proceeds of the Exit Facilities.

       B.      Exit Facilities.

        On the Effective Date, the Reorganized Debtors shall enter into the Exit Facilities and
provide any related guarantees, and the Exit Facilities shall be made available to the Reorganized
Debtors pursuant and subject to the terms and conditions set forth in the Exit Facility Documents.
Pursuant to the terms of the Exit Term Loan Facility the Exit Term Loan Lenders shall make the
Exit Term Loan Lender Election on or prior to the Effective Date and shall receive either the (1)
the Stripes Stock and the Stripes PIK Debt or (2) the MF Holdco Stock and the MF Holdco PIK
Debt on the Effective Date.

        The Confirmation Order shall constitute approval of the Exit Facilities (including the
transactions contemplated thereby, and all actions to be taken, undertakings to be made, and
obligations to be incurred and fees paid by the Reorganized Debtors in connection therewith), and
authorization for the Reorganized Debtors to enter into and perform under the Exit Facility
Documents and such other documents as may be required or appropriate.

       C.      Intra-Group Loan Facilities.

        For the avoidance of doubt, except as provided in Article III.B.5.c.iii with respect to the
release of the Intra-Group Loan Guarantees, no provision of this Plan including the releases
granted under Article X.D.2 of this Plan, shall constitute a discharge, release, or other modification
of the Intra-Group Loan Facilities or the obligations of Stripes or its non-Debtor Affiliates
thereunder. Pursuant to the Plan Support Agreement, SEAG and Möbel have agreed to contribute
the Intra-Group Loan Claims (other than the Intra-Group Loan Guarantees, which are released
hereby) to the share capital of Stripes, and to release the guarantee by MFHC in respect of the
Intra-Group Loan Facilities, provided that the conditions to such contribution and release specified
in the Plan Support Agreement are met.

       D.      Corporate Action.

       Upon the Effective Date, all actions contemplated by this Plan shall be deemed authorized,
approved, and, to the extent taken prior to the Effective Date, ratified in all respects without any
requirement of further action by stockholders, members, creditors, directors, or managers of the
Debtors, the Reorganized Debtors, or any other Entity.

       E.      Reorganized Debtors’ Directors and Officers.

        Pursuant to section 1129(a)(5) of the Bankruptcy Code, to the extent that there are
anticipated changes in the Reorganized Debtors’ Directors and Officers under the terms of the Exit
Term Loan Facility or otherwise, the Debtors will identify those changes in their brief in support
of Confirmation of the Plan to be filed in these Chapter 11 Cases. After the Effective Date, the



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Reorganized Debtors’ organizational documents, as each may be amended thereafter from time to
time, shall govern the designation and election of directors of the Reorganized Debtors.

       F.      Continued Legal Existence and Vesting of Assets in the Reorganized Debtors.

        Except as otherwise provided in this Plan, each of the Debtors shall continue to exist on
and after the Effective Date as a separate corporation, limited liability company, or other form of
Entity, as the case may be, with all of the powers of such Entity under applicable law in the
jurisdiction in which each Debtor is organized, incorporated, or otherwise formed and pursuant to
such Debtor’s articles of incorporation or formation, operating agreement, by-laws (or other
analogous formation and governance documents) in effect immediately prior to the Effective Date
(provided that such organizational documents shall be amended to prohibit the Reorganized Debtor
from issuing non-voting equity securities, to the extent necessary to comply with section 1123(a)
of the Bankruptcy Code), without prejudice to any right of the Reorganized Debtors to terminate
such existence (whether by merger or otherwise) under applicable law after the Effective Date. In
accordance with Article X.B, and except as explicitly provided in this Plan, on the Effective Date,
all property comprising the Estates shall vest in the Reorganized Debtors.

       G.      Cancellation of Liens.

        Except as otherwise provided in this Plan, or in any contract, instrument, release or other
agreement or document entered into or delivered in connection with this Plan, on the Effective
Date, in consideration for the distributions to be made on the Effective Date pursuant to this Plan,
all Liens, charges, and encumbrances related to any Claim (other than any Lien securing an Other
Secured Claim, solely to the extent such Claim is not Reinstated pursuant to this Plan), shall be
terminated, null and void and of no force or effect. Each Holder of an Allowed Other Secured
Claim (to the extent such Claim is not Reinstated pursuant to this Plan), an Allowed Prepetition
ABL Claim, and/or an Allowed Prepetition Term Loan Claim shall be authorized and directed to
release any collateral or other property of the Debtors (including any Cash collateral) held by such
Holder and to take such actions as may be requested by the Debtors (or the Reorganized Debtors
as the case may be) to evidence the release of any Liens, including the execution, delivery, and
filing or recording of such release documents as may be requested by the Debtors (or the
Reorganized Debtors, as the case may be). The Debtors (or the Reorganized Debtors as the case
may be) and any of their respective agents, attorneys or designees, shall be authorized to execute
and file on behalf of creditors Form UCC-3 termination statements, intellectual property
assignments, mortgage or deed of trust releases or such other forms or release documents as may
be necessary or appropriate to implement the provisions of this section.

       H.      Preservation of Causes of Action.

        In accordance with section 1123(b)(3) of the Bankruptcy Code, but subject to the releases
set forth in Article X.D.1, all Causes of Action that a Debtor may hold against any Entity shall vest
in the applicable Reorganized Debtor on the Effective Date. Thereafter, the Reorganized Debtors
shall have the exclusive right, authority, and discretion to determine and to initiate, file, prosecute,
enforce, abandon, settle, compromise, release, withdraw, or litigate to judgment any such Causes
of Action, whether arising before or after the Petition Date, and to decline to do any of the

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foregoing without the consent or approval of any third party or further notice to or action, order,
or approval of the Bankruptcy Court. No Entity may rely on the absence of a specific reference
in this Plan or the Disclosure Statement to any specific Cause of Action as any indication that
the Debtors or Reorganized Debtors, as applicable, will not pursue any and all available
Causes of Action. The Debtors or Reorganized Debtors, as applicable, expressly reserve all
rights to prosecute any and all Causes of Action against any Entity, except as otherwise
expressly provided in this Plan, and, therefore, no preclusion doctrine, including the doctrines of
res judicata, collateral estoppel, issue preclusion, claim preclusion, estoppel (judicial, equitable or
otherwise) or laches, shall apply to any Cause of Action upon, after, or as a consequence of the
Confirmation or the occurrence of the Effective Date.

       I.      Exemption from Certain Transfer Taxes and Recording Fees.

        To the maximum extent permitted pursuant to section 1146(a) of the Bankruptcy Code,
any transfers of property pursuant to this Plan (including, without limitation, the execution and
delivery of the Exit Facilities) shall not be subject to any document recording tax, stamp tax,
conveyance fee, intangibles or similar tax, mortgage tax, stamp act, real estate transfer tax, sale or
use tax, mortgage recording tax, or other similar tax or governmental assessment, and, upon entry
of the Confirmation Order, the appropriate state or local governmental officials or agents shall
forego the collection of any such tax or governmental assessment and are allowed to accept for
filing and recordation any of the foregoing instruments or other documents pursuant to such
transfers of property without the payment of any such tax, recordation fee, or governmental
assessment.

       J.      Management Incentive Plan.

        In accordance with the terms of the Plan Support Agreement and the Exit Term Loan
Facility, certain of the Reorganized Debtors’ senior management shall be entitled to participate in
the Management Incentive Plan, the terms of which shall become effective only after the Effective
Date. The Management Incentive Plan is a post-bankruptcy incentive plan and provides no awards
for actions taken by any of the Debtors’ employees during the Chapter 11 Cases. Pursuant to the
terms of the Plan Support Agreement, Steinhoff Holdings, Steinhoff Finance, Möbel, SEAG,
Stripes, and MFHC consent to (A) the issuance of 10% (on a fully-diluted basis) of the stock in
either (1) Stripes, if the Stripes Stock is issued pursuant to the Exit Term Loan Lender Election, or
(2) MF Holdco, if the MF Holdco Stock is issued pursuant to the Exit Term Loan Lender Election
to members of senior management of the Reorganized Debtors following the Effective Date, with
all matters relating to vesting of such stock based on time and performance to be determined by a
majority vote of the board of directors of Stripes or MF Holdco, as applicable, with respect to
which each of the directors is provided an opportunity to vote following the Effective Date, and
(B) the issuance of 10% of the principal amount of (1) the Stripes PIK Debt if the Stripes PIK Debt
is issued pursuant to the Exit Term Loan Lender Election, or (2) the MF Holdco PIK Debt, if the
MF Holdco PIK Debt is issued pursuant to the Exit Term Loan Lender Election, to members of
senior management of the Reorganized Debtors following the Effective Date, with the allocations
thereof to be determined by a majority vote of the board of directors of Stripes or MF Holdco, as
applicable, with respect to which each of the directors is provided an opportunity to vote following
the Effective Date of the Plan in a way that avoids triggering adverse tax consequences for such

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members of senior management or, in the alternative, compensation of comparable value in a form
to be reasonably agreed upon ((A) and (B) collectively, the “Management Incentive Plan”).

       K.      Workers’ Compensation Programs.

        As of the Effective Date, the Reorganized Debtors shall continue to honor their obligations
under (1) all applicable workers’ compensation laws in states in which the Reorganized Debtors
operate; and (2) the Debtors’ (a) written contracts, agreements, and agreements of indemnity, in
each case relating to workers’ compensation, (b) self-insured workers’ compensation bonds,
policies, programs, and plans for workers’ compensation and (c) workers’ compensation
insurance.

       L.      Operations Between the Confirmation Date and the Effective Date.

        During the period from the Confirmation Date to and including the Effective Date, the
Debtors may continue to operate their business as debtors in possession in the ordinary course,
subject to all applicable orders of the Bankruptcy Court and the provisions of the Bankruptcy Code.

       M.      Dissolution of Creditors’ Committee.

        The Debtors do not anticipate that a Creditors’ Committee will be formed in the Chapter
11 Cases because all Holders of Allowed General Unsecured Claims are Unimpaired under this
Plan. Notwithstanding the foregoing, a Creditors’ Committee, if appointed, shall continue in
existence until the Effective Date to exercise those powers and perform those duties specified in
section 1103 of the Bankruptcy Code and shall perform such other duties as it may be assigned by
the Bankruptcy Court prior to the Effective Date. On the Effective Date, the Creditors’ Committee,
if appointed, shall be dissolved and the Creditors’ Committee members shall be deemed released
of all of their duties, responsibilities, and obligations in connection with the Chapter 11 Cases or
this Plan and its implementation, and the retention and employment of the Creditors’ Committee’s
attorneys, accountants, professionals and other agents shall terminate.

                                          ARTICLE VI.

      TREATMENT OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES

       A.      Assumption of Executory Contracts and Unexpired Leases.

       On the Effective Date, all Executory Contracts or Unexpired Leases, including the Plan
Support Agreement, shall be deemed assumed by the applicable Reorganized Debtor in accordance
with the provisions and requirements of sections 365 and 1123 of the Bankruptcy Code (each an
“Assumed Contract” or “Assumed Lease”), unless any such Executory Contract or Unexpired
Lease:

               (1)     has previously been rejected by a Final Order of the Bankruptcy Court;

               (2)    has previously been rejected by an order of the Bankruptcy Court as of the
Effective Date, which order becomes a Final Order after the Effective Date;
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                (3)    is the subject of a Rejection Motion or Lease Rejection Notice pending as
of the Effective Date and is subsequently rejected by a Final Order of the Bankruptcy Court; or

                (4)     is identified on the Schedule of Post-Effective Date Negotiated Leases as
an Unexpired Lease as to which the counterparty has consented in writing to the Debtors’ deferral
of their decision to assume or reject for a period of up to ninety (90) days after the Effective Date;
provided, however, that the Debtors or the Reorganized Debtors, as applicable, may assume any
Unexpired Lease identified on the Schedule of Post-Effective Date Negotiated Leases at any time
before termination of the Post-Effective Date Lease Negotiation Period on such terms as may be
agreed with the relevant counterparty thereto.

        The Debtors will not assign any Executory Contracts or Unexpired Leases pursuant to this
Plan.

        Entry of the Confirmation Order shall constitute findings by the Bankruptcy Court that
(a) the Reorganized Debtors have properly provided for the cure of any defaults that might have
existed consistent with the requirements of section 365(b)(1) of the Bankruptcy Code; (b) each
assumption is in the best interest of the Reorganized Debtors, their Estates, and all parties in
interest in the Chapter 11 Cases; and (c) the requirements for assumption of any Executory
Contract or Unexpired Lease to be assumed have been satisfied. Except as otherwise provided in
the following sentence, defaults under Assumed Contracts and Assumed Leases will be cured by
being Reinstated, and all Claims under any Assumed Contract or Assumed Lease shall be paid by
the Reorganized Debtors on the Effective Date or as soon as reasonably practicable thereafter. In
the event of a dispute as to the amount necessary to satisfy any Claim under section 365(b)(1) of
the Bankruptcy Code, such Claim shall be paid upon the later of (i) a settlement of such dispute
between the Reorganized Debtors and the relevant Holder and (ii) entry of a Final Order resolving
such dispute; provided, however, that if a counterparty’s objection to the amount necessary to
satisfy a Claim under section 365(b)(1) of the Bankruptcy Code is sustained, the Reorganized
Debtors may elect, in their discretion, to reject such Executory Contract or Unexpired Lease in
lieu of assuming such Executory Contract or Unexpired Lease.

        B.     Rejection of Executory Contracts and Unexpired Leases.

        Executory Contracts and Unexpired Leases that are the subject of a Rejection Motion or a
Lease Rejection Notice shall be deemed rejected on the date specified in the Final Order
authorizing such rejection. The Debtors reserve the right, at any time prior to the Effective Date
(subject to the following paragraph in respect of the Schedule of Post-Effective Date Negotiated
Leases), to file one or more motions requesting authorization to reject any Executory Contract or
Unexpired Lease and/or file one or more Lease Rejection Notices, and to remove any Executory
Contract or Unexpired Lease from any such Rejection Motion or Lease Rejection Notice. The
Debtors are authorized to abandon any Remaining Property at or on the leased premises subject to
an Unexpired Lease rejected by a Final Order, and the counterparties to the rejected Unexpired
Leases may dispose of any such Remaining Property at or on the subject premises on the applicable
lease rejection effective date in accordance with the terms and provisions of the Lease Rejection
Procedures Order or any Final Order authorizing such rejection.

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        Notwithstanding anything to the contrary in this Plan, the Debtors and Reorganized
Debtors shall be entitled to file one or more Lease Rejection Notices after the Effective Date up to
and including the third Business Day after the termination of the Post-Effective Date Lease
Negotiation Period to reflect their decision, if any, to reject Unexpired Leases of nonresidential
real property listed on the Schedule of Post-Effective Date Negotiated Leases.

       C.      Compensation and Benefits Programs.

       All of the Compensation and Benefits Programs entered into before the Petition Date and
not since terminated shall be deemed to be, and shall be treated as though they are, Assumed
Contracts under Article VI.A, and the Debtors’ and Reorganized Debtors’ obligations under the
Compensation and Benefits Programs will survive Confirmation of this Plan and be fulfilled in the
ordinary course of business.

       D.      Indemnification Obligations.

         Notwithstanding anything in this Plan to the contrary, each Indemnification Obligation
shall be assumed by the applicable Debtor effective as of the Effective Date, pursuant to sections
356 and 1123 of the Bankruptcy Code or otherwise. Each Indemnification Obligation shall remain
in full force and effect, shall not be modified, reduced, discharged, impaired, or otherwise affected
in any way, and shall survive Unimpaired and unaffected, irrespective of when such obligation
arose. For the avoidance of doubt, this Article VI.D affects only the obligations of the Debtors
and Reorganized Debtors with respect to any Indemnification Obligations owed to or for the
benefit of past and present directors, officers, employees, attorneys, accountants, investment
bankers, and other professionals and agents of the Debtors, and shall have no effect on nor in any
way discharge or reduce, in whole or in part, any obligation of any other Entity owed to or for the
benefit of such directors, officers, employees, attorneys, accountants, investment bankers, and
other professionals and agents of the Debtors.

       E.      Modifications, Amendments, Supplements, Restatements, or Other Agreements.

       Unless otherwise provided in this Plan, each Assumed Contract or Assumed Lease shall
include all modifications, amendments, supplements, restatements, or other agreements that in any
manner affect such Assumed Contract or Assumed Lease, and Executory Contracts and Unexpired
Leases related thereto, if any, unless the Debtors reject or repudiate any of the foregoing
agreements. Modifications, amendments, and supplements to, or restatements of, prepetition
Executory Contracts and Unexpired Leases that have been executed by the Debtors during the
Chapter 11 Cases shall not be deemed to alter the prepetition nature of the Executory Contract or
Unexpired Lease, or the validity, priority, or amount of any Claims that may arise in connection
therewith.

       F.      Reservation of Rights.

       Neither the inclusion of any Executory Contract or Unexpired Lease in a Rejection Motion
or a Lease Rejection Notice, nor anything contained in this Plan, shall constitute an admission by

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the Debtors that any such contract or lease is in fact an Executory Contract or Unexpired Lease or
that any Reorganized Debtor has any liability thereunder. If there is a dispute regarding whether
a contract or lease is or was executory or unexpired at the time of assumption or rejection, the
Debtors, or, after the Effective Date, the Reorganized Debtors, shall have thirty (30) days
following entry of a Final Order resolving such dispute to alter their treatment of such contract or
lease.

                                         ARTICLE VII.

                    PROVISIONS FOR RESOLVING DISPUTED CLAIMS

       On and after the Effective Date, the Debtors or the Reorganized Debtors shall retain any
and all of their rights and defenses such Debtor had with respect to any Claim that existed
immediately before the Effective Date.

       A.      Claims Other than Rejection Damages Claims.

       Subject to Article VII.B in respect of Rejection Damages Claims, the Debtors and the
Reorganized Debtors may contest the amount and validity of any disputed, contingent, or
unliquidated Claim in the ordinary course of business in the manner and venue in which such
Claim would have been determined, resolved, or adjudicated if the Chapter 11 Cases had not been
commenced. No Proofs of Claim need be filed for any Claims other than Rejection Damages
Claims.

       B.      Rejection Damages Claims.

               1.      Proofs of Claim for Rejection Damages Claims.

        If the rejection of an Executory Contract or Unexpired Lease results in a Rejection
Damages Claim, then such Claim shall be forever barred and shall not be enforceable against the
Debtors or the Reorganized Debtors or their properties, or any of their interests in properties as
agent, successor or assign, unless a Proof of Claim is filed with the Claims and Noticing Agent
and served upon counsel to the Reorganized Debtors no later than the Rejection Damages Claims
Bar Date. The Debtors shall give notice of the Rejection Damages Claims Bar Date established
by this Article VI.B and provide a Proof of Claim form (i) to the counterparties to rejected
Executory Contracts or Unexpired Leases as of the Effective Date by service of the Notice of
Effective Date, and (ii) to the counterparties to the Unexpired Leases of nonresidential real
property listed on the Schedule of Post-Effective Date Negotiated Leases that are subject to
Rejection Notices after the Effective Date by service of such Rejection Notice.

               2.      Allowance of Rejection Damages Claims.

       No Rejection Damages Claim shall become an Allowed Claim unless and until (i) a Proof
of Claim is timely filed on account of such Claim and (ii) such Claim is (x) Allowed pursuant to a
Final Order or (y) settled or compromised between the applicable Debtor and the counterparty to
the applicable Executory Contract or Unexpired Lease.


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               3.      Administration of Rejection Damages Claims.

         Except as otherwise provided in this Plan and notwithstanding any requirements that may
be imposed by Bankruptcy Rule 9019, after the Effective Date the Reorganized Debtors shall have
the authority to: (a) file, withdraw, or litigate to judgment objections to Rejection Damages Claims;
(b) settle or compromise any Disputed Rejection Damages Claim without any further notice to or
action, order, or approval by the Bankruptcy Court; and (c) administer and adjust the Claims
Register to reflect any such settlements or compromises without further notice to or action, order,
or approval by the Bankruptcy Court.

               4.      Time to File Objections to Rejection Damages Claims.

       Any objection to a Rejection Damages Claim shall be filed on or before the Claims
Objection Deadline, as such deadline may be extended from time to time.

               5.      Adjustment to Claims Register without Objection.

        The Debtors or the Reorganized Debtors may adjust and expunge any duplicate Claim, any
Claim that has been paid or satisfied, or any claim that has been amended or superseded, upon
stipulation between the parties without the need for a Claims objection to be filed and without any
further notice to or action, order, or approval of the Bankruptcy Court.

                                         ARTICLE VIII.

                       PROVISIONS GOVERNING DISTRIBUTIONS

       A.      Allowed Claims and Interests.

       Notwithstanding any provision herein to the contrary, the Debtors or the Reorganized
Debtors shall make distributions only to Holders of Allowed Claims. A Holder of a Disputed
Claim shall receive only a distribution on account thereof when and to the extent that such Holder’s
Disputed Claim becomes an Allowed Claim.

       B.      Interest and Penalties on Claims.

        Unless otherwise specifically provided for in this Plan or the Confirmation Order, required
by applicable bankruptcy law, or necessary to render a Claim Unimpaired, post-petition interest
and penalties shall not accrue or be paid on any Claims, including Priority Tax Claims, Other
Priority Claims, and General Unsecured Claims, and no Holder of a Claim shall be entitled to
interest and penalties accruing on or after the petition Date through the date such Claim is satisfied
in accordance with the terms of this Plan.

       C.      Means of Cash Payment.

        Payments of Cash made pursuant to this Plan shall be made, at the option and in the sole
discretion of the Reorganized Debtors, by checks drawn on or wire transfers from a bank selected
by the Reorganized Debtors.
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       D.      Withholding and Reporting Requirements.

       In connection with this Plan and all distributions hereunder, the Reorganized Debtors shall
comply with all withholding and reporting requirements imposed by any federal, state, local or
foreign taxing authority, and all distributions hereunder shall be subject to any such withholding
and reporting requirements. The Reorganized Debtors shall be authorized to take any and all
actions that may be necessary or appropriate to comply with such withholding and reporting
requirements.

       E.      Setoff and Recoupment.

        The Reorganized Debtors may, pursuant to sections 553 and/or 558 of the Bankruptcy
Code or applicable non-bankruptcy laws, but shall not be required to, set off and/or recoup against
any Claim the payments or other distributions to be made pursuant to this Plan in respect of such
Claim, or claims of any nature whatsoever that the Debtors or the Reorganized Debtors may have
against the Holder of such Claim; provided, however, that neither the failure to assert such rights
of setoff and/or recoupment nor the allowance of any Claim hereunder shall constitute a waiver or
release by the Reorganized Debtors of any claim that the Debtors or the Reorganized Debtors may
assert against any Holder of an Allowed Claim, and all setoff and/or recoupment claims of the
Debtors and/or the Reorganized Debtors are hereby preserved.

       F.      Undeliverable or Non-Negotiated Distributions.

        All undeliverable distributions under this Plan that remain unclaimed for one year after
attempted distribution shall indefeasibly revert to the Reorganized Debtors. Upon such reversion,
the relevant Allowed Claim shall be automatically discharged and forever barred, notwithstanding
any federal or state escheatment laws to the contrary.

       G.      Claims Paid by Third Parties.

        To the extent a Holder receives a distribution on account of a Claim and also receives
payment from a party other than the Debtors or the Reorganized Debtors on account of such Claim,
such Holder shall, within thirty (30) days of receipt thereof, repay or return the distribution to the
Reorganized Debtors, to the extent the Holder’s total recovery on account of such Claim from the
third party and under this Plan exceeds the amount of the Claim as of the date of any such
distribution under this Plan.

                                          ARTICLE IX.

                   CONFIRMATION AND CONSUMMATION OF PLAN

       A.      Conditions to the Effective Date.

        The Effective Date shall not occur unless and until the following conditions shall have been
satisfied or waived in accordance with Article IX.B:


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                1.      The Confirmation Order, in form and substance reasonably satisfactory to
the Debtors, the Exit Term Loan Lenders, and the Plan Support Parties shall have become a Final
Order and shall, among other things, provide that the Debtors and the Reorganized Debtors are
authorized to take all actions necessary or appropriate to enter into, implement, and consummate
the Exit Facilities and other agreements or documents contemplated by this Plan.

               2.      The Exit Term Loan Documents shall have been executed and delivered,
and all conditions precedent thereto shall have been satisfied (other than the occurrence of the
Effective Date), including that either:

                       a.      The Stripes Restructuring shall have been consummated (in which
                               case the Stripes Stock and the Stripes PIK Debt shall be issued to
                               the Exit Term Loan Lenders pursuant to the Exit Term Loan
                               Lender Election); or

                       b.      If the Stripes Restructuring has not been consummated, the Exit
                               Term Loan Lenders shall be satisfied, in their sole and absolute
                               discretion, with the results of their diligence into the potential U.S.
                               tax impacts of the Plan and the transactions contemplated hereby
                               (in which case the MF Holdco Stock and the MF Holdco PIK Debt
                               shall be issued to the Exit Term Loan Lenders pursuant to the Exit
                               Term Loan Lender Election).

                 3.     Any and all authorizations, consents, certifications, approvals, rulings, no-
action letters, opinions or other documents or actions required by any law, regulation or order to
be received or to occur in order to implement this Plan on the Effective Date shall have been
obtained or shall have occurred.

               4.      The Confirmation Order shall provide that all Claims for damages resulting
from the rejection or termination of an Unexpired Lease of nonresidential real property shall be
Allowed only to the extent provided under section 502(b)(6) of the Bankruptcy Code.

       B.      Waiver of Conditions.

        Each of the conditions to the occurrence of the Effective Date set forth in Article IX.A may
be waived in whole or in part by the Debtors with the prior written approval of the Exit Term Loan
Lenders and the Plan Support Parties, without notice, leave, or order of the Bankruptcy Court or
any formal action other than proceedings to confirm or consummate this Plan. The failure to
satisfy or waive any condition to the Effective Date may be asserted by the Debtors regardless of
the circumstances giving rise to the failure of such condition to be satisfied.

       C.      Vacatur of Confirmation Order; Non-Occurrence of Effective Date.

        If the Confirmation Order is vacated or the Effective Date does not occur, this Plan shall
be null and void in all respects and nothing contained in this Plan or the Disclosure Statement shall
(1) constitute a waiver or release of any Causes of Action by or Claims against or Interests in the

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Debtors; (2) prejudice in any manner the rights of the Debtors, any Holders of a Claim or Interest
or any other Entity; (3) constitute an admission, acknowledgment, offer, or undertaking by the
Debtors, any Holders, or any other Entity in any respect; or (4) be used by the Debtors or any other
Entity as evidence (or in any other way) in any litigation, including with respect to the strengths
and weaknesses of positions, arguments or claims of any of the parties to such litigation.

                                           ARTICLE X.

                            EFFECT OF PLAN CONFIRMATION

       A.      Binding Effect.

        On the Effective Date of this Plan, all provisions of this Plan, including all agreements,
instruments and other documents filed in connection with this Plan by the Debtors or the
Reorganized Debtors, shall be binding upon the Debtors, the Estates, the Reorganized Debtors, all
Holders of Claims against and Interests in the Debtors and each such Holder’s respective
successors and assigns, and all other parties that are affected in any manner by this Plan. Except
as expressly provided otherwise in this Plan, all agreements, instruments and other documents filed
in connection with this Plan shall be given full force and effect, and shall bind all parties referred
to therein as of the Effective Date, whether or not such agreements are actually issued, delivered
or recorded on the Effective Date or thereafter and whether or not a party has actually executed
such agreement.

       B.      Vesting of Assets in the Reorganized Debtors.

        Except as otherwise explicitly provided in this Plan, on the Effective Date, all property
comprising the Estates—including, without limitation, all Causes of Action not released in Article
X.D.1, all Executory Contracts and Unexpired Leases assumed by any of the Debtors, and any
property acquired by any of the Debtors, but excluding all Remaining Property that has been
abandoned pursuant to an order of the Bankruptcy Court (including without limitation, the Lease
Rejection Procedures Order)—shall vest in each respective Reorganized Debtor free and clear of
all Liens, Claims, charges, or other encumbrances unless expressly provided by this Plan or the
Confirmation Order. On and after the Effective Date, each Reorganized Debtor may operate its
business and may use, acquire, or dispose of property, and compromise or settle any Claims,
Interests, or Causes of Action without supervision or approval of the Bankruptcy Court and free
of any restrictions of the Bankruptcy Code or the Bankruptcy Rules.

       C.      Discharge.

               1.      Discharge of the Debtors.

        Except as expressly provided in this Plan or the Confirmation Order (including to the
extent any Claims are Reinstated under this Plan), all consideration distributed under this
Plan shall be in exchange for, and in complete satisfaction, settlement, discharge, and release
of, all Claims of any nature whatsoever against the Debtors or any of their assets or
properties and, regardless of whether any property shall have been abandoned by order of
the Bankruptcy Court, retained, or distributed pursuant to this Plan on account of such
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Claims, upon the Effective Date, each of the Debtors shall be deemed discharged and released
under section 1141(d)(1)(A) of the Bankruptcy Code from any and all Claims, including, but
not limited to, demands and liabilities that arose before the Effective Date, and all debts of
the kind specified in section 502 of the Bankruptcy Code, whether or not (a) a Proof of Claim
based upon such debt is filed or deemed filed under section 501 of the Bankruptcy Code, (b)
a Claim based upon such debt is Allowed under section 502 of the Bankruptcy Code, (c) a
Claim based upon such debt is or has been disallowed by order of the Bankruptcy Court, or
(d) the Holder of a Claim based upon such debt is deemed to have accepted this Plan.

              2.     Discharge Injunction.

        As of the Effective Date, except as expressly provided in this Plan or the Confirmation
Order, all Entities shall be precluded from asserting against the Debtors or the Reorganized
Debtors any Claims, debts, rights, causes of action, claims for relief, liabilities, or equity
interests relating to the Debtors that have been released, discharged, or exculpated pursuant
to the Plan and which are based upon any act, omission, transaction, occurrence, or other
activity of any nature that occurred prior to the Effective Date. In accordance with the
foregoing, except as explicitly provided in this Plan or the Confirmation Order, the
Confirmation Order shall be a judicial determination of discharge of all Claims and other
debts and liabilities against the Debtors pursuant to section 524 and 1141 of the Bankruptcy
Code, and such discharge shall void any judgment obtained against the Debtors at any time
to the extent such judgment relates to a discharged Claim.

       D.     Releases.

              1.     Releases by the Debtors.

        As of the Effective Date, except (i) for the right to enforce the Plan or any right or
obligation arising under the Definitive Documents or an assumed contract that remains in
effect or becomes effective after the Effective Date or (ii) as expressly provided in this Plan
or the Confirmation Order, pursuant to section 1123(b) of the Bankruptcy Code, for good
and valuable consideration, the adequacy of which is hereby confirmed, including, without
limitation, the service of the Released Parties to facilitate and implement the reorganization
of the Debtors, as an integral component of the Plan, as of the Effective Date, the Debtors,
the Reorganized Debtors, and each of their respective current and former Affiliates (with
respect to non-Debtors, to the extent permitted by applicable law), on behalf of themselves
and their respective Estates, including, without limitation, any successor to the Debtors or
any Estate representative appointed or selected pursuant to the Bankruptcy Code, shall, and
shall be deemed to, expressly, conclusively, absolutely, unconditionally, irrevocably, and
forever release, waive, void, extinguish, and discharge, each and all of the Released Parties
of and from any and all Causes of Action (including, without limitation, Avoidance Actions),
any and all other Claims, Interests, obligations, rights, demands, suits, judgments, damages,
debts, remedies, losses and liabilities of any nature whatsoever (including any derivative
claims or Causes of Action asserted or that may be asserted on behalf of the Debtors, the
Reorganized Debtors, or their Estates), whether liquidated or unliquidated, fixed or
contingent, matured or unmatured, known or unknown, foreseen or unforeseen, existing or

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hereinafter arising, in law, equity, contract, tort or otherwise, based on or relating to, or in
any manner arising from, in whole or in part, any act, omission, transaction, event, or other
circumstance taking place or existing on or before the Effective Date (including before the
Petition Date) in connection with or related to the Debtors, the Reorganized Debtors, their
respective assets and properties, and the Estates, the Chapter 11 Cases, the Plan Support
Agreement, the DIP Credit Facilities, Intra-Group Loan Guarantees, the Prepetition Debt
Documents, this Plan, the Disclosure Statement, and any related agreements, instruments,
and other documents created or entered into before or during the Chapter 11 Cases, the
pursuit of Confirmation, the administration and implementation of this Plan, including the
distribution of property under this Plan, the execution and delivery of the Exit Facilities, or
any other related agreement, or upon any other act or omission, transaction, agreement,
event, or other occurrence taking place on or before the Effective Date related or relating to
the foregoing. Notwithstanding anything to the contrary in the foregoing, the releases set
forth in this Article X.D.1 shall not be construed as (a) releasing any Released Party from
Causes of Action arising from an act or omission that is judicially determined by a Final
Order to have constituted actual fraud, willful misconduct, or gross negligence, or (b)
releasing any post-Effective Date obligations of any Entity under this Plan or any document,
instrument, or agreement executed to implement this Plan or Reinstated under this Plan.

              2.      Releases by Certain Holders of Claims.

        Except as expressly provided in this Plan or the Confirmation Order, as of the
Effective Date, for good and valuable consideration, the adequacy of which is hereby
confirmed, including, without limitation, the service of the Released Parties to facilitate the
reorganization of the Debtors, as an integral component of the Plan, each Releasing Party
shall, and shall be deemed to, expressly, conclusively, absolutely, unconditionally,
irrevocably, and forever release, waive, void, extinguish, and discharge each Debtor,
Reorganized Debtor, and other Released Party from any and all Claims, Interests,
obligations, rights, demands, suits, judgments, Causes of Action, damages, debts, remedies,
losses and liabilities of any nature whatsoever, including any derivative Claims or Causes of
Action asserted or that may be asserted on behalf of the Debtors, the Reorganized Debtors,
or their Estates, that such Releasing Party would have been legally entitled to assert in their
own right (whether individually or collectively) or on behalf of the Holder of any Claim or
Interest, whether liquidated or unliquidated, fixed or contingent, matured or unmatured,
known or unknown, foreseen or unforeseen, existing or hereinafter arising, in law, equity,
contract, tort or otherwise, based on or relating to, or in any manner arising from, in whole
or in part, any act, omission, transaction, event, or other circumstance taking place or
existing on or before the Effective Date (including before the Petition Date) in connection
with or related to the Debtors, the Reorganized Debtors, their respective assets and
properties, and the Estates, the Chapter 11 Cases, the Plan Support Agreement, the DIP
Credit Facilities, the Intra-Group Loan Guarantees, the Prepetition Debt Documents, this
Plan, the Disclosure Statement, the Exit Facilities, and any related agreements, instruments,
and other documents created or entered into before or during the Chapter 11 Cases the
pursuit of Confirmation, the administration and implementation of this Plan, including the
distribution of property under this Plan, or any other related agreement, or upon any other
act or omission, transaction, agreement, event, or other occurrence taking place on or before

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the Effective Date related or relating to the foregoing; provided, however, that the releases
set forth in this Article X.D.2 shall not constitute a release of any claims held by the Intra-
Group Lenders other than with respect to the Intra-Group Loan Guarantees.
Notwithstanding the foregoing, the releases set forth in this Article X.D.2 shall not be granted
or be deemed to have been granted by any Entity who returns the Opt-Out Election Form,
within thirty (30) days after entry of the Effective Date, to the address specified on the Opt-
Out Election Form, specifying that such Entity elects not to grant the releases contained in
this Article X.D.2.

       E.     Exculpation.

        From and after the Effective Date, the Exculpated Fiduciaries and, solely to the extent
provided by section 1125(e) of the Bankruptcy Code, the Section 1125(e) Parties, shall neither
have nor incur any liability to, or be subject to any right of action by, any Holder of a Claim
or an Interest, or any other party in interest, or any of their respective Affiliates, employees,
representatives, financial advisors, attorneys, or agents acting in such capacity, or any of
their successors or assigns, for any act, omission, transaction, event, or other circumstance
in connection with or related to the Debtors, the Reorganized Debtors, their respective assets
and properties, and the Estates, the Chapter 11 Cases, the Plan Support Agreement, the DIP
Credit Facilities, the Intra-Group Loan Guarantees, the Exit Facilities, the Prepetition Debt
Documents, this Plan, or the Disclosure Statement, the pursuit of Confirmation, the
administration and implementation of this Plan, including the distribution of property under
this Plan, or any other related agreement, or upon any other act or omission, transaction,
agreement, event, or other occurrence related or relating to the foregoing; provided,
however, that this Article X.D shall not apply to release (1) obligations under this Plan and
the contracts, instruments, releases, agreements, and documents delivered, Reinstated or
assumed under this Plan or (2) any Claims or Causes of Action arising out of fraud, willful
misconduct or gross negligence as determined by a Final Order.

       Each of the Exculpated Parties shall be entitled to rely, in all respects, upon the
reasonable and informed advice of counsel with respect to their duties and responsibilities
under this Plan.

       F.     Injunctions.

              1.      Injunction Related to Releases.

        Except as expressly provided in this Plan or the Confirmation Order, as of the
Effective Date, all Entities that hold, have held, or may hold a Claim or any other obligation,
suit, judgment, damages, debt, right, remedy, Cause of Action or liability of any nature
whatsoever, of the types described in Article X.D.2 and relating to the Debtors, the
Reorganized Debtors or any of their respective assets and property and/or the Estates, the
Chapter 11 Cases, the Plan Support Agreement, the DIP Credit Facilities, the Intra-Group
Loan Guarantees, the Exit Facilities, this Plan and/or the Disclosure Statement are, and shall
be, permanently, forever and completely stayed, restrained, prohibited, barred and enjoined
from taking any of the following actions against any Released Party or its property on

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account of such released liabilities, whether directly or indirectly, derivatively or otherwise,
on account of or based on the subject matter of such discharged Claims or other obligations,
suits, judgments, damages, debts, rights, remedies, causes of action or liabilities: (a)
commencing, conducting or continuing in any manner, directly or indirectly, any suit, action
or other proceeding (including, without limitation, any judicial, arbitral, administrative or
other proceeding) in any forum; (b) enforcing, attaching (including, without limitation, any
prejudgment attachment), collecting, or in any way seeking to recover any judgment, award,
decree, or other order; (c) creating, perfecting or in any way enforcing in any matter, directly
or indirectly, any Lien; (d) setting off, seeking reimbursement or contributions from, or
subrogation against, or otherwise recouping in any manner, directly or indirectly, any
amount against any liability or obligation that is discharged under Article X.C; and/or (e)
commencing or continuing in any manner any judicial, arbitration or administrative
proceeding in any forum, that does not comply with or is inconsistent with the provisions of
this Plan or the Confirmation Order.

              2.      Injunction Related to Exculpation.

         Except as expressly provided in this Plan or the Confirmation Order, as of the
Effective Date, all Entities that hold, have held, or may hold a Claim or any other obligation,
suit, judgment, damages, debt, right, remedy, Cause of Action or liability of any nature
whatsoever, of the types described in Article X.E and relating to the Debtors, the
Reorganized Debtors or any of their respective assets and property and/or the Estates, are,
and shall be, permanently, forever and completely stayed, restrained, prohibited, barred and
enjoined from taking any of the following actions against any Exculpated Party or its
property on account of such released liabilities, whether directly or indirectly, derivatively
or otherwise, on account of or based on the subject matter of such discharged Claims or
other obligations, suits, judgments, damages, debts, rights, remedies, causes of action or
liabilities: (a) commencing, conducting or continuing in any manner, directly or indirectly,
any suit, action or other proceeding (including, without limitation, any judicial, arbitral,
administrative or other proceeding) in any forum; (b) enforcing, attaching (including,
without limitation, any prejudgment attachment), collecting, or in any way seeking to
recover any judgment, award, decree, or other order; (c) creating, perfecting or in any way
enforcing in any matter, directly or indirectly, any Lien; (d) setting off, seeking
reimbursement or contributions from, or subrogation against, or otherwise recouping in any
manner, directly or indirectly, any amount against any liability or obligation that is
discharged under Article X.C; and/or (e) commencing or continuing in any manner any
judicial, arbitration or administrative proceeding in any forum, that does not comply with
or is inconsistent with the provisions of this Plan or the Confirmation Order.

       G.     Term of Bankruptcy Injunction or Stays.




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         All injunctions or stays provided for in the Chapter 11 Cases under section 105 or section
362 of the Bankruptcy Code, or otherwise, and in existence on the Confirmation Date, shall remain
in full force and effect until the Effective Date.

                                          ARTICLE XI.

                              RETENTION OF JURISDICTION

        Notwithstanding entry of the Confirmation Order and the occurrence of the Effective Date,
the Bankruptcy Court shall retain jurisdiction over all matters arising out of, and related to, the
Chapter 11 Cases and this Plan pursuant to sections 105(c) and 1142 of the Bankruptcy Code and
to the fullest extent permitted by law, including, among other things, jurisdiction to:

               1.      resolve any matters related to the assumption or rejection of any Executory
Contract or Unexpired Lease to which any Debtor is a party or with respect to which any Debtor
or Reorganized Debtor may be liable and to hear, determine the Allowed amount of, and, if
necessary, liquidate any Claims (including Rejection Damages Claims) arising therefrom.

               2.      ensure that distributions to Holders of Allowed Claims are accomplished
pursuant to the provisions of this Plan and adjudicate any and all disputes relating to distributions
under this Plan.

               3.     decide or resolve any motions, adversary proceedings, contested or litigated
matters, and any other matters and grant or deny any applications involving the Debtors that may
be pending on the Effective Date (which jurisdiction shall be non-exclusive as to any such non-
core matters);

              4.     enter such orders as may be necessary or appropriate to implement or
consummate the provisions of this Plan and all contracts, instruments, releases and other
agreements or documents created in connection with this Plan, the Disclosure Statement, or the
Confirmation Order, and issue injunctions, enter and implement other orders, or take such other
actions as may be necessary or appropriate to restrain interference by any entity with
consummation, implementation or enforcement of this Plan or the Confirmation Order;

               5.      resolve any cases, controversies, suits or disputes that may arise in
connection with the consummation, interpretation, or enforcement of this Plan or any contract,
instrument, release or other agreement or document that is executed or created pursuant to this
Plan, or any Entity’s rights arising from or obligations incurred in connection with this Plan or
such documents;

               6.      approve any modification of this Plan before or after the Effective Date
pursuant to section 1127 of the Bankruptcy Code or approve any modification of the Disclosure
Statement, the Confirmation Order or any contract, instrument, release or other agreement or
document created in connection with this Plan, the Disclosure Statement, or the Confirmation
Order, or remedy any defect or omission or reconcile any inconsistency in any Bankruptcy Court
order, this Plan, the Disclosure Statement, the Confirmation Order or any contract, instrument,
release or other agreement or document created in connection with this Plan, the Disclosure
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Statement, or the Confirmation Order, in such manner as may be necessary or appropriate to
consummate this Plan;

               7.     hear and determine all disputes involving the existence, nature or scope of
the Debtors’ discharge;

               8.      hear and determine all applications for compensation and reimbursement of
expenses of Professionals under this Plan or under sections 330, 331, 503(b), 1103 and 1129(a)(9)
of the Bankruptcy Code, which shall be payable by the Debtors only upon allowance thereof
pursuant to an order of the Bankruptcy Court.

              9.      hear and determine matters concerning state, local and federal taxes in
accordance with sections 346, 505 and 1146 of the Bankruptcy Code;

                10.      enter and implement such orders as are necessary or appropriate if the
Confirmation Order is for any reason or in any respect modified, stayed, reversed, revoked or
vacated, or if distributions pursuant to this Plan are enjoined or stayed;

                11.    determine any other matter that may arise in connection with or relate to
this Plan, the Disclosure Statement, the Confirmation Order, or any contract, instrument, release,
or other agreement or document created in connection with this Plan, the Disclosure Statement, or
the Confirmation Order;

              12.     enforce all orders, judgments, injunctions, releases, exculpations,
indemnifications, and rulings entered in connection with the Chapter 11 Cases;

               13.    hear and determine all matters related to the property of the Estates from
and after the Confirmation Date;

               14.    enter a Final Order or decree concluding or closing the Chapter 11 Cases;
and

             15.     hear any other matter related hereto that are not inconsistent with the
Bankruptcy Code or title 28 of the United States Code.

                                         ARTICLE XII.

                              MISCELLANEOUS PROVISIONS

       A.      Amendment or Modification of this Plan.

        Subject to section 1127 of the Bankruptcy Code, the Debtors may alter, amend or modify
this Plan at any time prior to or after the Confirmation Date but prior to the Effective Date. Each
Holder of a Claims or Interest shall be presumed to have accepted this Plan, as altered, amended
or modified, if the proposed alteration, amendment or modification does not materially and
adversely change the treatment of the Claim or Interest of such Holder.


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       B.      Effectuating Documents and Further Transactions.

        The Debtors and the Reorganized Debtors are authorized to execute, deliver, file or record
such contracts, instruments, certificates, notes, releases and other agreements or documents and
take such actions as may be necessary or appropriate to effectuate, implement and further evidence
the terms and conditions of this Plan (including, without limitation, the Exit Facility Documents).

       C.      Successors and Assigns.

       The rights, benefits and obligations of any Entity named or referred to in this Plan or the
Confirmation Order shall be binding on, and inure to the benefit of, any heir, executor,
administrator, successor or assign, Affiliate, officer, director, manager, agent, representative,
attorney, beneficiary, or guardian, if any of each such Entity.

       D.      Revocation, Withdrawal or Non-Consummation.

        This Plan constitutes a separate chapter 11 plan of reorganization for each Debtor.
Accordingly, this Plan may be confirmed and consummated for any Debtor, and the fact that this
Plan is confirmed or consummated for any particular Debtor shall have no impact on the ability or
right of any other Debtor to confirm or consummate this Plan as to that Debtor.

        The Debtors reserve the right to revoke or withdraw this Plan at any time prior to the
Confirmation Hearing and to file other plans of reorganization. If the Debtors revoke or withdraw
this Plan, or if Confirmation or consummation of this Plan fails to occur, then (1) this Plan shall
be null and void in all respects, (2) any settlement or compromise embodied in this Plan (including
the fixing of the amount of any Claim or Class of Claim), assumption of Executory Contracts or
Unexpired Leases under this Plan, and any document or agreement executed pursuant to this Plan
shall be deemed null and void, and (3) nothing contained in this Plan, and no acts taken in
preparation for consummation of this Plan, shall (a) constitute or be deemed to constitute a waiver
or release of any Claims or Causes of Action, (b) prejudice in any manner the rights of the Debtors
or any Entity in any further proceedings involving the Debtors, or (c) constitute an admission by
the Debtors or any other Entity.

       E.      Notice.

        All notices, requests, and demands to or upon the Debtors or the Reorganized Debtors to
be effective shall be in writing and, unless otherwise expressly provided herein, shall be deemed
to have been duly given or made when actually delivered, addressed as follows:

        Debtors:                Mattress Firm Holding Corp.
                                10201 S. Main Street
                                Houston, Texas 77025
                                Attn: Kindel Elam
                                kindel.elam@mfrm.com

                                with copies to:

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         Attorneys               Sidley Austin LLP
         for the Debtors:        One South Dearborn Street
                                 Chicago, Illinois 60603
                                 Attn: Bojan Guzina and Matthew E. Linder

                                 -and-

                                 Sidley Austin LLP
                                 555 West Fifth Street, Suite 4000
                                 Los Angeles, California 90013
                                 Attn: Gabriel R. MacConaill and
                                 Michael Fishel

                                 -and-

                                 Young Conaway Stargatt & Taylor, LLP
                                 1000 North King Street
                                 Wilmington, Delaware 19801
                                 Attn: Edmon L. Morton and Ashley E. Jacobs

       F.      Nonseverability of Plan Provisions.

         If, prior to Confirmation, any term or provision of this Plan is determined by the
Bankruptcy Court to be invalid, void or unenforceable, the Bankruptcy Court will have the power
to alter and interpret such term or provision to make it valid or enforceable to the maximum extent
practicable, consistent with the original purpose of the term or provision held to be invalid, void
or unenforceable, and such term or provision will then be applicable as altered or interpreted;
provided, that any such alteration or interpretation shall be reasonably satisfactory to (1) the
Debtors, (2) the Exit Term Loan Lenders, (3) the Plan Support Parties and (4) the DIP Agents
solely to the extent the provisions therein affect the legal and/or economic rights of the DIP Agents.
Notwithstanding any such holding, alteration or interpretation, the remainder of the terms and
provisions of this Plan will remain in full force and effect and will in no way be affected, impaired
or invalidated by such holding, alteration, or interpretation. The Confirmation Order will constitute
a judicial determination and will provide that each term and provision of this Plan, as it may have
been altered or interpreted in accordance with the foregoing, is valid and enforceable pursuant to
its terms.

       G.      Governing Law.

       Subject to the provisions of any contract, certificates or articles of incorporation, by-laws,
instruments, releases, or other agreements or documents entered into in connection with this Plan,
and subject further to Article XI, the rights and obligations arising under this Plan shall be
governed by, and construed and enforced in accordance with (1) the Bankruptcy Code, the
Bankruptcy Rules or other federal law to the extent applicable and (2) if none of such law is



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applicable, the laws of the State of Delaware, without giving effect to the principles of conflicts of
law of such jurisdiction.

       H.      Tax Reporting and Compliance.

        The Reorganized Debtors are hereby authorized, on behalf of each of the Debtors, to
request an expedited determination under section 505(b) of the Bankruptcy Code of the tax liability
of the Debtors for all taxable periods ending after the Petition Date to and including the Effective
Date.

       I.      Closing of Chapter 11 Cases; Caption Change

        On or after the occurrence of the Effective Date, the Reorganized Debtors may submit a
proposed final decree order (the “Final Decree Order”) to the Bankruptcy Court under certification
of counsel closing the Chapter 11 Cases of all of the Debtors except one remaining Debtor to be
identified in the Final Decree Order (the “Remaining Debtor”). All contested matters relating to
each of the Debtors, including objections to Rejection Damages Claims, shall be administered and
heard in the Chapter 11 Case of the Remaining Debtor. Further, for the avoidance of doubt, the
Remaining Debtor shall make payments of Quarterly Fees. In addition, the Reorganized Debtors
shall submit, under certification of counsel, a proposed order amending the case caption as of the
Effective Date, subject to the entry of the Final Decree Order.


                           [Remainder of Page Intentionally Left Blank]




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Respectfully submitted as of             Mattress Firm, Inc.
October 4, 2018                          (on behalf of itself and its Affiliated Debtors)

                                         /s/ Hendré Ackermann
                                         Hendré Ackermann
                                         Chief Operating Officer and
                                         Chief Financial Officer
